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   10   Xavier Becerra
   11                       IN THE UNITED STATES DISTRICT COURT
   12                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   13
   14
   15
         VIRGINIA DUNCAN, RICHARD                        17-cv-1017-BEN-JLB
   16    LEWIS, PATRICK LOVETTE,
         DAVID MARGUGLIO,                                 EXHIBITS 34-43 TO THE
   17    CHRISTOPHER WADDELL, and                         DECLARATION OF JOHN D.
         CALIFORNIA RIFLE & PISTOL                        ECHEVERRIA IN SUPPORT OF
   18    ASSOCIATION, INC., a California                  DEFENDANT’S OPPOSITION TO
         corporation,                                     PLAINTIFFS’ MOTION FOR
   19                                                     SUMMARY JUDGMENT OR,
                                           Plaintiffs,    ALTERNATIVELY, PARTIAL
   20                                                     SUMMARY JUDGMENT
                       v.
   21                                                    Date:            April 30, 2018
                                                         Time:            10:30 a.m.
   22    XAVIER BECERRA, in his official                 Judge:           Hon. Roger T. Benitez
         capacity as Attorney General of the             Courtroom:       5A
   23    State of California; and DOES 1-10,             Action Filed:    May 17, 2017
   24                                     Defendant.
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   18                 Fire Faster, N.Y. Times, Oct. 5 2017

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                      Policy Implications, Injury Prevention, Feb. 24,
   26                 2018
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                                                                                           National Law Enforcement Partnership to
                                                                                                     Prevent Gun Violence

                                                                                                                                                                    PROTECTING COMMUNITIES FROM ASSAULT WEAPONS
                                                                                                                                                                       AND HIGH-CAPACITY AMMUNITION MAGAZINES


                                                                                                                                          BACKGROUND ON ASSAULT WEAPONS AND HIGH-CAPACITY
                                                                                                                                          AMMUNITION MAGAZINES

                                                                                                                                          Assault weapons were designed for the battlefield and have no place in our
                                                                                                                                          communities. These weapons were developed to enable a shooter to rapidly spray-fire
                                                                                                                                          multiple rounds at an enemy in combat, not to gun down small children, moviegoers,
                                                                                                                                          firefighters – or the law enforcement officers protecting them. This kind of excessive
                                                                                                                                          firepower has particular utility in the hands of dangerous people intent on wreaking
                                                                                                                                          havoc.

                                                                                                                                          Each of the combat hardware features on assault weapons has a military purpose. For
                                                                                                                                          example, a pistol grip stabilizes the weapon and enables the shooter to spray-fire from
                                                                                                                                          the hip; a barrel shroud cools the barrel when multiple rounds are fired, preventing the
                                                                                                                                          weapon from overheating and allows the shooter to grasp the barrel; a threaded barrel
                                                                                                                                          accommodates military accessories such as a flash suppressor or grenade launcher;
                                                                                                                                          and a telescoping, folding or detachable stock allows for easier concealment.

                                                                                                                                          High-capacity ammunition magazines dramatically increase a shooter’s ability to
                                                                                                                                          massacre large numbers of people. Prohibiting the manufacture, transfer and
                                                                                                                                          importation of high-capacity magazines that hold more than ten rounds would reduce
                                                                                                                                          the number of bullets a shooter could use before having to stop to reload. Reloading
                                                                                                                                          can provide a critical window of time in which to take down a shooter, as we saw in
                                                                                                                                          Tucson.

                                                                                                                                          ASSAULT WEAPONS AND HIGH-CAPACITY AMMUNITION MAGAZINES
                                                                                                                                          ARE THE INSTRUMENTS OF MASS SHOOTERS

                Horrific mass shootings are happening all too often all across our nation. Last
                December, Adam Lanza forced his way into a Newtown, CT, elementary school and
                opened fire with a .223 caliber Bushmaster AR-15 semiautomatic assault weapon and
                multiple 30-round ammunition magazines, killing 26 people, including 20 small
                children. In July of last year, James Holmes entered an Aurora, CO, movie theater
                and allegedly used an AR-15 assault weapon equipped with a 100-round drum
magazine to mow down moviegoers, killing 12 and wounding 58 others.1

It is hard to imagine a gunman using a firearm equipped with a magazine holding fewer than ten rounds
causing the devastation that resulted from an assault weapon equipped with a 100-round drum
magazine. A semiautomatic assault rifle with a 100-round drum magazine – or a pistol equipped with a

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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(http://www.nytimes.com/2012/12/17/us/lanza-­‐used-­‐a-­‐popular-­‐ar-­‐15-­‐style-­‐rifle-­‐in-­‐newtown.html?pagewanted=all&_r=0)	  and	  
Kleinfield,	  N.R.,	  “Gunman	  Took	  Big	  Supply	  of	  Ammunition	  to	  School	  After	  Killing	  Mother	  at	  Home,”	  New	  York	  Times,	  Dec.	  16,	  2012	  
(http://www.nytimes.com/2012/12/17/nyregion/sandy-­‐hook-­‐school-­‐shooting-­‐in-­‐newtown.html?ref=us)..	  
	  
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30-round magazine – has one purpose: to kill as many people as possible as quickly as possible.

The devastating effects of these weapons are felt by law enforcement as criminals up the ante with
firepower in excess of what police officers typically use. Reports from law enforcement leaders around
the country indicate that assault weapons are increasingly being used against law enforcement officers.
Current restrictions on the release of Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) trace
data make it impossible to know exactly how often these firearms are being used in crimes.2 But
according to the Department of Justice, high-capacity ammunition magazines are used in 31 to 41
percent of fatal police shootings, varying across cities analyzed.3

EFFECTIVENESS OF THE 1994 ASSAULT WEAPONS AND HIGH-CAPACITY AMMUNITION
MAGAZINE BAN

The 1994 assault weapons ban prohibited the manufacture, transfer, sale or possession of new
semiautomatic assault weapons and high-capacity ammunition magazines in excess of ten rounds. The
ban expired in 2004.

Studies show the 1994 assault weapons ban worked:

       •      A 2004 University of Pennsylvania study found that, in the nine years after the ban took effect, the
              percentage of gun crimes involving assault weapons decreased by 70 percent.4

       •      In 1998, four years after the assault weapons and high-capacity ammunition magazine ban was
              enacted, the percentage of firearms with large-capacity magazines recovered by Virginia police
              decreased and continued to drop until it hit a low of 9 percent in 2004, the year the ban expired.
              That figure more than doubled since the ban’s expiration, hitting a high of 20 percent in 2010,
              according to a Washington Post analysis.5

       •      After the ban expired in 2004, 37 percent of police agencies saw increases in criminals’ use of
              assault weapons, and 38 percent reported a noticeable increase in criminals’ use of high-capacity
              magazines, according to a 2010 Police Executive Research Forum survey.6

NEW LEGISLATION

The Partnership calls on Congress to pass S.150, the Assault Weapons Ban of 2013, introduced by
Senator Dianne Feinstein (D-CA) in the U.S. Senate, and the companion bill, H.R.437, introduced by
Representative Carolyn McCarthy (D-NY) in the House of Representatives. The legislation bans the sale,
transfer, manufacture and importation of:




2	  International	  Association	  of	  Chiefs	  of	  Police	  (IACP),	  Taking	  a	  Stand:	  Reducing	  Gun	  Violence	  in	  Our	  Communities,	  Sept.	  2007	  

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3	  Koper,	  Christopher	  S.,	  “An	  Updated	  Assessment	  of	  the	  Federal	  Assault	  Weapons	  Ban,”	  National	  Institute	  of	  Justice,	  U.S.	  Department	  

of	  Justice,	  June	  2004	  (https://www.ncjrs.gov/pdffiles1/nij/grants/204431.pdf).	  
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1994-­‐2003”	  (http://www.sas.upenn.edu/jerrylee/research/aw_final2004.pdf).	  
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6	  Police	  Executive	  Research	  Forum,	  Guns	  and	  Crime:	  Breaking	  New	  Ground	  By	  Focusing	  on	  the	  Local	  Impact,	  May	  2010	  

(policeforum.org/library/critical-­‐issues-­‐in-­‐policing.../GunsandCrime.pdf).	  

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                           •                          New semiautomatic rifles that can accept a detachable magazine and have at least one military
                                                      feature, such as pistol grip; forward grip; folding, telescoping, or detachable stock; grenade
                                                      launcher or rocket launcher; barrel shroud; or threaded barrel.

                           •                          New semiautomatic pistols that can accept a detachable magazine and have at least one military
                                                      feature, including threaded barrel; second pistol grip; barrel shroud; capacity to accept a
                                                      detachable magazine at some location outside of the pistol grip; or semiautomatic version of an
                                                      automatic firearm.

                           •                          New semiautomatic shotguns that have a folding, telescoping, or detachable stock; pistol grip;
                                                      fixed magazine with the capacity to accept more than five rounds; ability to accept a detachable
                                                      magazine; forward grip; grenade launcher or rocket launcher; or shotgun with a revolving
                                                      cylinder.

                           •                          New high-capacity ammunition feeding devices that have the capacity to hold more than ten
                                                      rounds of ammunition that come in many forms, including a magazine, belt, drum, or feed strip.

The 2013 Assault Weapons Ban excludes any weapon that is lawfully possessed when the bill is
enacted; any firearm manually operated by a bolt, pump, lever or slide action; assault weapons used by
military, law enforcement, and retired law enforcement; and antique weapons. It also excludes 2,258
legitimate hunting and sporting rifles and shotguns by specific make and model.

Additionally, the new legislation strengthens the provisions of the expired 1994 law by banning
dangerous devices designed to circumvent the law, including bump or slide fire stocks, which are
modified stocks that enable semi-automatic weapons to fire at rates similar to fully automatic machine
guns; “bullet buttons” that allow rapid replacement of ammunition magazines, frequently used as a
workaround to prohibitions on detachable magazines; and thumbhole stocks, a type of stock that was
created as a workaround to avoid prohibitions on pistol grips.

The 2013 Assault Weapons Ban addresses the millions of assault weapons and large-capacity
magazines currently in existence by requiring a background check on all sales or transfers of
grandfathered assault weapons and prohibiting the sale or transfer of high-capacity ammunition feeding
devices lawfully possessed on the date of enactment of the bill.

OUTLAWING ASSAULT WEAPONS AND HIGH-CAPACITY MAGAZINES DOES NOT
INFRINGE ON THE SECOND AMENDMENT

The Assault Weapons Ban would affect only a particularly dangerous class of weapons, and law-abiding
citizens will continue to be able to choose from and acquire the vast array of firearm models on the
market. In the 2008 case of District of Columbia v. Heller, the United States Supreme Court ruled that
the Second Amendment protects an individual’s right to possess a firearm. The ruling, however,
recognized that "like most rights, the right secured by the Second Amendment is not unlimited," and
listed several categories of restrictions that are presumptively constitutional, such as: laws prohibiting
convicted felons or the mentally ill from possessing firearms; laws prohibiting the carrying of firearms in
government buildings or schools; laws prohibiting possession of “dangerous and unusual” weapons that
are not “in common use at the time.”7

EXAMPLES OF THE DEVASTATION CAUSED BY ASSAULT WEAPONS AND HIGH-
CAPACITY AMMUNITION MAGAZINES


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
7	  District	  of	  Columbia	  v.	  Heller,	  554	  U.S.	  570	  (2008).	  	  

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      •      In Newtown, CT, on December 14, 2012, Adam Lanza allegedly shot and killed 26 people,
             including 20 first-grade children, at Sandy Hook Elementary School with an assault weapon and
             multiple 30-round magazines.

      •      On August 5, 2012, in Oak Creek, WI, Wade Michael Page killed six people and wounded three
             others at a Sikh temple with a semiautomatic handgun and three 19-round magazines.

      •      In Aurora, CO, on July 20, 2012, James Holmes allegedly shot and killed 12 people and injured
             58 others at a movie theater. Holmes allegedly used two semiautomatic handguns, a shotgun and
             an assault weapon equipped with a 100-round drum magazine.

      •      On January 8, 2011, Jared Loughner shot and killed six people and wounded 13 others in
             Tucson, AZ, including U.S. Representative Gabrielle Giffords. Loughner fired all 33 rounds from a
             semiautomatic handgun with a 33-round magazine before being tackled while trying to reload
             another magazine.

      •      In Fort Hood, TX, on November 5, 2009, Major Nidal Hasan allegedly shot and killed 13 people
             and wounded 34 others during a rampage at the Fort Hood military installation. He allegedly used
             a semiautomatic handgun and 20- and 30-round magazines.

      •      On April 3, 2009, Jiverly Wong shot and killed 13 people and injured four others at the American
             Civic Association in Binghamton, NY, firing 99 rounds from two semiautomatic handguns. A 30-
             round capacity magazine was found at the scene.

AMERICANS SUPPORT FOR A BAN ON ASSAULT WEAPONS AND HIGH-CAPACITY
AMMUNITION MAGAZINES

      •      In a December 2012 poll, 81 percent of registered voters – including 71 percent of gun owners –
             supported renewing the federal ban on assault weapons.8

      •      In the same December 2012 poll, 72 percent of voters, including 59 percent of gun owners,
             supported a ban on the sale of high-capacity magazines.9

      •      In a Johns Hopkins University Bloomberg School of Public Health survey, 69 percent of
             respondents supported a ban on the sale of military-style assault rifles. 10

      •      In a January 2013 Washington Post-ABC poll, 58 percent of Americans said they supported a
             nationwide ban on the sale of assault weapons. 11




8	  Douglas	  E.	  Schoen,	  “National	  Gun	  Survey,“	  January	  2013	  

(http://libcloud.s3.amazonaws.com/9/13/a/1088/schoen_summary_memo_-­‐3.pdf).	  
9	  Douglas	  E.	  Schoen,	  “National	  Gun	  Survey,“	  January	  2013	  

(http://libcloud.s3.amazonaws.com/9/13/a/1088/schoen_summary_memo_-­‐3.pdf).	  
10	  Johns	  Hopkins	  Bloomberg	  School	  of	  Public	  Health	  Survey,	  “Majority	  of	  Americans	  Support	  Dozens	  of	  Policies	  to	  Strengthen	  U.S.	  

Gun	  Laws,”	  Jan.	  28,	  2013	  (http://www.jhsph.edu/news/news-­‐releases/2013/Barry-­‐Majority-­‐of-­‐Americans-­‐Support-­‐Policies-­‐to-­‐
Strengthen-­‐Gun-­‐Laws.html).	  
11	  ABC	  News/Washington	  Post	  Poll,	  “On	  Eve	  of	  Newtown	  Recommendations,	  Most	  Back	  New	  Gun	  Control	  Measures,	  Jan.	  14,	  2013	  

(http://www.langerresearch.com/uploads/1146a1GunControl.pdf).
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                   A Guide to Mass Shootings in America
       There have been at least 98 in the past 35 years—and most of the killers got their guns legally.

        MARK FOLLMAN, GAVIN ARONSEN AND DEANNA PAN UPDATED: MARCH 10, 2018, 9:00 A.M. PT




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Editor’s note: In July 2012, in the aftermath of the movie theater massacre in Aurora, Colorado, Mother Jones created
the first open-source database documenting mass shootings in the United States. Our research has focused on
indiscriminate rampages in public places resulting in four or more victims killed by the attacker. We exclude shootings
stemming from more conventional crimes such as armed robbery or gang violence. Other news outlets and researchers
have published larger tallies that include a wide range of gun crimes in which four or more people have been either
wounded or killed. While those larger datasets of multiple-victim shootings may be useful for studying the broader
problem of gun violence, our investigation provides an in-depth look at the distinct phenomenon of mass
shootings—from the firearms used to mental health factors and the growing copycat problem. Tracking mass shootings
is complex; we believe ours is the most useful approach.

The interactive map below and our downloadable database have been expanded with 36 additional cases from 2013-
2018. Dating back to at least 2005, the FBI and leading criminologists essentially defined a mass shooting as a single
attack in a public place in which four or more victims were killed. We adopted that baseline when we gathered data in
2012 on three decades worth of cases. (It is important to note that there have been many similar indiscriminate gun
rampages—resulting in fewer fatalities—that would otherwise be included in our dataset.) In January 2013, a mandate
for federal investigation of mass shootings authorized by President Barack Obama lowered that baseline to three or
more victims killed. Accordingly, we include attacks dating from January 2013 in which three or more victims died. Our
original analysis, which covers cases with four or more victims killed from 1982-2012, follows below. The cases we have
documented since then using the revised federal baseline reaffirm our major findings.

It is perhaps too easy to forget how many times this has happened. The horrific massacre at a movie theater in
Aurora, Colorado, in July 2012, another at a Sikh temple in Wisconsin that August, another at a manufacturer in           Can
                                                                                                                          the
Minneapolis that September—and then the unthinkable nightmare at a Connecticut elementary school that                     nex
December—were some of the latest in an epidemic of such gun violence over the last three-plus decades. Since 1982,        atta
                                                                                                                          be
there have been at least 98 public mass shootings across the country, with the killings unfolding in 34 states from       pre
Massachusetts to Hawaii. Fifty-nine of these mass shootings have occurred since 2006. Seven of them took place in
2012 alone, including Sandy Hook. An analysis of this database by researchers at Harvard University, further
corroborated by a recent FBI study, determined that mass shootings have been on the rise.


                                                                                                         Exhibit 37
                                                                                                        Page 01414
https://www.motherjones.com/politics/2012/07/mass-shootings-map/                                                3/22/2018
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mentally troubled—and many displayed signs of mental health problems before setting out to kill. Explore the map for
further details—we do not consider it to be all-inclusive, but based on the criteria we used, we believe that we’ve
produced the most comprehensive rundown available on this particular type of violence. (Mass shootings represent only
a sliver of America’s overall gun violence.) For the stories of the 151 shooting rampage victims of 2012, click here, and for
our groundbreaking investigation into the economic costs of the nation’s gun violence, including mass shootings, click
here.

Click on the dots or use the search tool in the top-right corner of the map to go to a specific location. Zoom in
to find cases located geographically close together in Colorado, Texas, Wisconsin, and elsewhere. [Editor’s note: The
Oct. 1, 2017 mass shooting on the Las Vegas Strip and several other recent attacks have not yet been added to this
map; we will be publishing an updated version soon. In the meantime, see our fully updated database here.]




 Map created by   motherjones




Our focus is on public mass shootings in which the motive appeared to be indiscriminate killing. We used the following
criteria to identify cases:

   • The perpetrator took the lives of at least four people. A 2008 FBI report identifies an individual as a mass
      murderer—versus a spree killer or a serial killer—if he kills four or more people in a single incident (not including
      himself), typically in a single location. (*In 2013, the US government’s fatality baseline was revised down to three.)

   • The killings were carried out by a lone shooter. (Except in the case of the Columbine massacre and the
      Westside Middle School killings, which involved two shooters.)

   • The shootings occurred in a public place. (Except in the case of a party on private property in Crandon,
      Wisconsin, and another in Seattle, where crowds of strangers had gathered.) Crimes primarily related to gang
      activity or armed robbery are not included, nor are mass killings that took place in private homes (often stemming
      from domestic violence).

   • Perpetrators who died or were wounded during the attack are not included in the victim counts.

   • We included a handful of cases also known as “spree killings“—cases in which the killings occurred in
      more than one location over a short period of time, that otherwise fit the above criteria.


                                                                                                           Exhibit 37
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https://www.motherjones.com/politics/2012/07/mass-shootings-map/                                                   3/22/2018
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For more on the thinking behind our criteria, see these two explanatory pieces. Plus: more on the crucial mental illness
factor, and on the recent barrage of state laws rolling back gun restrictions across the US. And: Explore the full data set
behind our investigation.

Here are two charts detailing the killers’ weapons:




  This guide was first published on July 20, 2012. Since then, we’ve updated and expanded it multiple times with
additional research and reporting. The analysis and charts above cover the data through 2012 (comprising 62 cases);
additional data and analysis on the shooters’ weapons are in this story. Information on 36 additional mass shootings
from 2013-2018 is included in our full data set here. For much more of our reporting on mass shootings, gun violence,
and gun laws, see our special investigations: America Under the Gun, Newtown: One Year After, and The True
Cost of Gun Violence. (Return to intro.)

First published: Fri Jul. 20, 2012 7:32 PM PDT.
Interactive production by Tasneem Raja and Jaeah Lee




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https://www.motherjones.com/politics/2012/07/mass-shootings-map/                                                  3/22/2018
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     Mother Jones was founded as a nonprofit in 1976 because we knew corporations and the wealthy wouldn’t fund
     the type of hard-hitting journalism we set out to do.

     Today, reader support makes up about two-thirds of our budget, allows us to dig deep on stories that matter, and
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                 MARK FOLLMAN 
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DEANNA PAN 
Deanna Pan is a former senior editorial fellow at Mother Jones.




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https://www.motherjones.com/politics/2012/07/mass-shootings-map/                                                                                3/22/2018
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                            Exhibit 38

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Va. data show drop in criminal firepower during assault gun ban
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                                                   107
  CORRECTION TO THIS ARTICLE
  An earlier version of this story incorrectly reported the limit on the capacity of gun magazines in Maryland. The limit is 20.
  This version has been corrected.


  Va. data show drop in criminal firepower during assault gun ban
   By David S. Fallis and James V. Grimaldi
   Washington Post Staff Writers
   Sunday, January 23, 2011; 9:17 AM

   The number of guns with high-capacity magazines seized by Virginia police dropped during a decade-long federal
   prohibition on assault weapons, but the rate has rebounded sharply since the ban was lifted in late 2004, according to a
   Washington Post analysis.

   More than 15,000 guns equipped with high-capacity magazines - defined under the lapsed federal law as holding 11 or
   more bullets - have been seized by Virginia police in a wide range of investigations since 1993, the data show.

   The role of high-capacity magazines in gun crime was thrust into the national spotlight two weeks ago when 22-year-
  old Jared Lee Loughner allegedly opened fire with a semiautomatic handgun outside a Tucson grocery store, killing six
  and wounding 13, including Rep. Gabrielle Giffords (D-Ariz.). Authorities say Loughner used a legally purchased 9mm
  Glock 19 handgun with a 31-round clip and was tackled while changing magazines.

   Of the seized Virginia weapons, 2,000 had magazines with a capacity of 30 or more bullets. Some states still limit
   magazine capacity. California, for example, limits them to 10 and Maryland to 20.

   Last year in Virginia, guns with high-capacity magazines amounted to 22 percent of the weapons recovered and
   reported by police. In 2004, when the ban expired, the rate had reached a low of 10 percent. In each year since then, the
   rate has gone up.

   "Maybe the federal ban was finally starting to make a dent in the market by the time it ended," said Christopher Koper,
   head of research at the Police Executive Research Forum, who studied the assault weapons ban for the National
   Institute of Justice, the research arm of the Justice Department.

   Congress is considering legislation to reinstitute the assault weapon ban's prohibition on high-capacity magazines, a
   measure strongly opposed by gun rights advocates.

   The analysis of the Virginia records, obtained under the state's public information law, provides a rare window into the
   firepower of guns used in crimes. The Bureau of Alcohol, Tobacco, Firearms and Explosives, which traces guns for
   local police agencies and regulates the firearms industry, does not track magazine sizes. Academic researchers said they
   were unaware of any other comprehensive study of firearms magazines.

   The pattern in Virginia "may be a pivotal piece of evidence" that the assault weapons ban eventually had an impact on
   the proliferation of high-capacity magazines on the streets, said Garen Wintemute, head of the Violence Prevention
   Research Program at the University of California at Davis.

   "Many people, me included, were skeptical about the chances that the magazine ban would make a difference back in
   1994," Wintemute said. "But what I am seeing here is that after a few years' lag time the prevalence of high-capacity
   magazines was declining. The increase since the ban's repeal is quite striking."

   Guns with high-capacity magazines have appeared in Virginia crimes ranging from the mundane to the murderous. The
   Post found that 200 guns with high-capacity magazines figured in Virginia homicides, including these incidents:

           In Richmond in 2003, Michael Antoine Wilson, 21, used his semiautomatic rifle with its 30-round magazine to
            shoot his 17-year-old girlfriend to death in front of children and relatives. Then he went to a nearby convenience

                                                                                                                                    Exhibit 38
http://www.washingtonpost.com/wp-dyn/content/article/2011/01/22/AR2011012203452_pf.html[5/30/2017 1:52:39 PM]                      Page 01419
Va. data show drop in criminal firepower during assault gun ban
             Case 3:17-cv-01017-BEN-JLB Document 53-12 Filed 04/09/18 PageID.7183 Page 49 of
           store, killed two workers and stole a van before turning
                                                                107 the gun on himself.

           In Roanoke in 2004, Marcus Jerome Nance, 22, used his legally purchased 9mm Glock 17 handgun with a high-
           capacity magazine to spray 33 bullets into a crowd that had gathered outside a Roanoke gas station after a
            nightclub closing, killing one and wounding two.

           In Newport News last year, Antonio Johnson, 34, began shooting at police during a traffic stop with a 9mm
            semiautomatic handgun outfitted with a 15-round magazine. "Subject shot police officer and then killed himself
            with weapon," state records say.

   In the Arizona shootings, Loughner allegedly used a Glock 19 that he had legally purchased at a Tucson sporting goods
   store in November. The gun's capacity allowed Loughner to squeeze off more than 30 shots without reloading,
   authorities said.

   The federal assault weapons ban from late 1994 through late 2004 prohibited the manufacturing of magazines capable
   of holding more than 10 rounds. But the act permitted the sale of magazines manufactured before the ban.

   The federal prohibition was spurred by a mass killing in 1989 in Stockton, Calif., where Patrick Edward Purdy, 24, a
   mentally unbalanced drug addict, fired 110 shots from an AK-47 into a schoolyard, killing five children and wounding
   29 others and a teacher. He used a 75-round rotary clip and a 35-round banana clip, one of four he was carrying.

  New legislative interest

   Rep. Carolyn McCarthy (N.Y.) and 57 other Democrats proposed legislation last week to ban the sale or transfer of
   high-capacity magazines, no matter when they were manufactured. McCarthy's husband and five others were killed in
   1993 on the Long Island Rail Road by a gunman armed with a semiautomatic pistol and four 15-round magazines. He
   fired 30 shots before being subdued while changing magazines.

   The bill's prospects are considered slim in the Republican-controlled House. In the Senate, the National Rifle
   Association says it has a solid 50-senator pro-gun block that could delay any legislation.

   The NRA has announced its opposition to proposals that limit magazine capacity.

   "These magazines are standard equipment for self-defense handguns and other firearms owned by tens of millions of
   Americans," according to a statement on its politics Web page, and in a letter circulating to members of Congress.
   "Law-abiding private citizens choose them for many reasons, including the same reason police officers do: to improve
   their odds in defensive situations."

   The firearms industry also opposes the proposal. "The tragedy in Tucson was not about firearms, ammunition or
   magazine capacity," said Ted Novin, a spokesman for the National Shooting Sports Foundation, a gun industry group.
   "It was about the actions of a madman. Period."

   The analysis by The Post is possible because of a little-known database of guns seized in Virginia. The database, called
   the Criminal Firearms Clearinghouse, has information on more than 100,000 firearms recovered by more than 200 local
   police departments since 1993. A federal law in 2003, known as the Tiahrt Amendment after the congressman who
   sponsored it, banned the release of federal data on guns recovered in crimes.

  Last year, The Post mined the database to pierce the secrecy imposed by Congress on federal gun-tracing records. The
  analysis found that a fraction of licensed dealers in Virginia sell most of guns later seized by police. The vast majority
  of the guns in the database were confiscated because of illegal-possession charges. But thousands were swept up in the
  wake of assaults, robberies and shootings.

   Two months before the ban expired in September 2004, Marcus Nance bought an extended magazine and a 9mm Glock
   17 handgun at a Roanoke gun store. Three nights later, down the street from the store, Nance opened fire on a crowded
   parking lot after arguing and fighting with people in the crowd.

                                                                                                                 Exhibit 38
http://www.washingtonpost.com/wp-dyn/content/article/2011/01/22/AR2011012203452_pf.html[5/30/2017 1:52:39 PM]   Page 01420
Va. data show drop in criminal firepower during assault gun ban
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   A police officer called to investigate a disturbance heard shots and saw Nance holding a gun at arm's length and firing
   "randomly into the mass of people" before shooting several rounds into the air.

   A police car's dashboard camera recorded the jackhammer sound of gunfire. In a car parked nearby, police found a
   Glock gun box and two boxes of ammunition, one of them partially empty.

   Police went to the gun shop and confirmed that Nance had bought the handgun ($555), a laser sight ($380) and two
   extended magazines ($135), paying cash in an entirely legal transaction. Police noted: "The magazines in question were
   manufactured before 1994 and not considered prohibited."

   Nance, who said he had been attacked by members of the crowd and shot in self-defense, was convicted of second-
  degree murder and is in prison.

  The 2004 study

   Koper's 108-page 2004 study for the National Institute of Justice found the ban on assault weapons had mixed results.

   "Assault weapons were rarely used in gun crimes even before the ban," he said in the report. But he also concluded that
   the prohibition on high-capacity magazines might have affected public safety, because such magazines allow shooters
   to inflict more damage.

   "Tentatively I was able to show that guns associated with large-capacity magazines tended to be associated with more
   serious crimes, more serious outcomes," he said.

   Some gun rights activists argue that a ban on high-capacity magazines would violate the Second Amendment right to
   bear arms. One prominent gun rights activist who takes a less absolute position is Robert A. Levy, chairman of the Cato
   Institute. He is also the lawyer who brought the case that overturned D.C.'s handgun ban.

   But Levy said the government would need to prove that such a ban was effective.

   "The burden is on the government, not on the individual to show that the regulation isn't unduly intrusive," Levy said.

   Colin Goddard, a lobbyist for the Brady Campaign to Prevent Gun Violence and a victim of the 2007 Virginia Tech
   shootings, said the high-capacity ban could save lives. The Virginia Tech shooter, Seung Hui Cho, used several 15-
  round magazines to fire 174 shots and kill 32 people in the worst gun-related mass murder by an individual in U.S.
   history.

   "When you double and triple the amount of the clip size, you don't double or triple the number of deer you kill, you
   double and triple the amount of innocent people who are killed in shootings like this," said Goddard, 25, who was shot
   four times by Cho.

   Bradley A. Buckles, ATF director from 1999 to 2004, said bureau officials advised Congress to focus on high-capacity
   magazines, which were "completely unregulated" and had almost no sporting purpose.

   "The whole thing with magazine capacity came out of ATF," Buckles said. "It wasn't so much guns, but it was
   firepower. What made them more deadly than a hunting rifle was the fact that you could have a 20-round, 30-round
   clip, when most hunting rifles wouldn't have more than five rounds."

   Buckles said lawmakers should have extended the ban on high-capacity magazines in 2004. Banning them now, he
   said, just puts everyone back at square one.

   "There are so many millions of them out there, it probably wouldn't make any immediate difference over the course of
   20 years," Buckles said. "It is not a short-term solution to anything."

  fallisd@washpost.com grimaldij@washpost.com

                                                                                                                 Exhibit 38
http://www.washingtonpost.com/wp-dyn/content/article/2011/01/22/AR2011012203452_pf.html[5/30/2017 1:52:39 PM]   Page 01421
Va. data show drop in criminal firepower during assault gun ban
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  Research editor Alice Crites and staff writer Sari Horwitz 107
                                                             contributed to this story.

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Data indicate drop in high-capacity magazines during federal gun ban - T...   https://www.washingtonpost.com/investigations/data-point-to-drop-in-hi...
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  During the 10-year federal ban on assault weapons, the percentage of firearms equipped with high-capacity magazines seized
  by police agencies in Virginia dropped, only to rise sharply once the restrictions were lifted in 2004, according to an analysis
  by The Washington Post.


  The White House is leading a push to reinstate a national ban on large-capacity magazines and assault weapons after a
  gunman armed with an AR-15 and 30-round magazines killed 20 children and seven adults in Connecticut. Vice President
  Biden has been holding advisory meetings to hammer out a course of action that will address the issue of the larger magazines,
  which under the lapsed federal ban were those that held 11 or more rounds of ammunition.


  In Virginia, The Post found that the rate at which police recovered firearms with high-capacity magazines — mostly handguns
  and, to a smaller extent, rifles — began to drop around 1998, four years into the ban. It hit a low of 9 percent of the total
  number of guns recovered the year the ban expired, 2004.


  The next year, the rate began to climb and continued to rise in subsequent years, reaching 20 percent in 2010, according to the
  analysis of a little-known Virginia database of guns recovered by police. In the period The Post studied, police in Virginia
  recovered more than 100,000 firearms, more than 14,000 of which had high-capacity magazines.




  To some researchers, the snapshot in Virginia suggests that the federal ban may have started to curb the widespread
  availability of the larger magazines.


  “I was skeptical that the ban would be effective, and I was wrong,” said Garen Wintemute, head of the Violence Prevention
  Research Program at the University of California at Davis School of Medicine. The database analysis offers “about as clear an
                                                                                                                      Exhibit 39
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Data indicate drop in high-capacity magazines during federal gun ban - T...   https://www.washingtonpost.com/investigations/data-point-to-drop-in-hi...
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  example as we could ask for of evidence that the ban was working.”
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  The analysis is based on an examination of the Criminal Firearms Clearinghouse, a database obtained from state police under
  Virginia’s public information law. The data, which were first studied by The Post in 2011, offer a rare glimpse into the size of
  the magazines of guns seized during criminal investigations. The Bureau of Alcohol, Tobacco, Firearms and Explosives, which
  traces guns and regulates the industry, tracks details about the guns seized after crimes but not the magazine size.


  The initial Post analysis was prompted by a mass shooting in Tucson. Jared Lee Loughner — armed with a legally purchased
  9mm semiautomatic handgun and a 33-round magazine — opened fire outside a grocery store, killing six people and
  wounding 13, including Rep. Gabrielle Giffords (D-Ariz.).


  In the following two years, a succession of mass shootings has occurred, including several in which the gunmen reportedly had
  high-capacity magazines.


  At the Dec. 14 shooting in Newtown, Conn., the gunman was reported to have been armed with two handguns, an AR-15 rifle
  and numerous 30-round magazines. He killed himself at the scene. The guns were legally purchased by his mother.


  The federal ban that expired in 2004 prohibited the manufacture of magazines capable of holding more than 10 rounds. But
  the law permitted the sale of magazines manufactured before the ban. By some estimates, 25 million of the large-capacity
  magazines were still on the market in 1995.


  Many semiautomatic rifles and semiautomatic handguns accept magazines of various sizes. Larger magazines increase a gun’s
  firepower, enabling more shots before reloading.


  The Virginia database analyzed by The Post lists about three-quarters of guns recovered by police, missing the rest because
  some agencies failed to report their recoveries to the state. The database contains details about more than 100,000 guns
  recovered by 200 police departments in a wide range of investigations from 1993 through August 2010, when The Post last
  obtained it.


  In recent weeks, The Post conducted additional analysis into the type of guns confiscated with large-capacity magazines. The
  guns included Glock and TEC-9 handguns and Bushmaster rifles. Most had magazines ranging from 11 to 30 rounds.


  Of 14,478 guns equipped with large-capacity magazines that were confiscated by police, more than 87 percent — 12,664 —
  were classified as semiautomatic pistols. The remainder were mostly semiautomatic rifles.


  The Post also identified and excluded from the counts more than 1,000 .22-caliber rifles with large-capacity tubular
  magazines, which were not subject to the ban.


  In Virginia, handguns outfitted with large-capacity magazines saw the biggest fluctuation during and after the ban.

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  In 1997, three years into the ban, police across the state reported
                                                                  107seizing 944 handguns with large-capacity magazines. In
  2004, the year the ban ended, they confiscated 452. In 2009, the last full year for which data were available, the number had
  rebounded to 986 handguns, analysis showed.


  Of these, the single biggest group were handguns equipped with 15-round magazines, accounting overall for 4,270 firearms
  over the 18 years.




  Nationwide, researchers who studied the federal ban had difficulty determining its effect, in part because weapons and
  magazines manufactured before the ban could still be sold and in part because most criminals do not use assault weapons.


  Christopher Koper, who studied the ban’s effect for the National Institute of Justice, the research arm of the Justice
  Department, noted in a 2004 report that the “success in reducing criminal use of the banned guns and magazines has been
  mixed.”


  He found that gun crimes involving assault weapons declined between 17 and 72 percent in the six cities covered in the study
  — Anchorage, Baltimore, Boston, Miami, Milwaukee and St. Louis. But he said he found no decline in crimes committed with
  other guns with large-capacity magazines, most likely “due to the immense stock of exempted pre-ban magazines.”


  Koper’s study tracked guns through 2003. He said that The Post’s findings, which looked at magazine capacity of guns
  recovered in Virginia before and after 2003, suggests that “maybe the federal ban was finally starting to make a dent in the
  market by the time it ended.”


  Koper, now an associate professor of criminology at George Mason University, also noted the ban on high-capacity magazines
  might improve public safety because larger magazines enable shooters to inflict more damage.


  The use of high-capacity magazines is a contentious point in the gun debate.


  “Anyone who’s thought seriously about armed self-defense knows why honest Americans — private citizens and police alike —
  choose magazines that hold more than 10 rounds. Quite simply, they improve good people’s odds in defensive situations,”
  Chris W. Cox, the executive director of the National Rifle Association’s legislative institute wrote in a piece posted online. He
  called the ban a “dismal failure.”


  The federal prohibition on high-capacity magazines and assault weapons was spurred in part by the 1989 mass killing in
  Stockton, Calif. Patrick Edward Purdy, a mentally unbalanced drug addict, fired 110 rounds from an AK-47 into a schoolyard,
  killing five children and wounding 29 others and a teacher. Purdy used a 75-round drum magazine and a 35-round banana
  clip, one of four he carried.


  Some states still limit magazine size. Maryland limits the size to 20 rounds; California limits it to 10. Connecticut, the location
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Data indicate drop in high-capacity magazines during federal gun ban - T...   https://www.washingtonpost.com/investigations/data-point-to-drop-in-hi...
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  of Sandy Hook Elementary School, does not.     107

  After Giffords’s shooting, Rep. Carolyn McCarthy (N.Y.) and other Democrats proposed legislation to ban the sale or transfer
  of high-capacity magazines. McCarthy’s husband and five others were killed in 1993 on the Long Island Rail Road by a
  gunman armed with a semiautomatic pistol and four 15-round magazines. He fired 30 shots before being subdued as he
  swapped magazines.


  In the wake of the Newtown shooting, President Obama and lawmakers urged that a ban on assault weapons and
  high-capacity magazines be made permanent.


  The NRA and the National Shooting Sports Foundation, a gun industry group, have historically opposed any restrictions on
  magazine capacity. The NRA did not respond to requests for comment, and the sports foundation declined to comment.




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                 Garv Kleck



                 Guns and Violence
                    in America




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Analysis of Five Years of Armed Encounters (With Data Tables)               http://gunssavelives.net/self-defense/analysis-of-five-years-of-armed-en...
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         March 12 2012
                                                                                                                              by GSL Staff
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                                                          Incident at a Glance
         Gun(s) Used:                             Unknown                Location:                              Unknown
         # of Suspects:                           Unknown                Shots Fired:                           Unknown
         Suspect Killed:                          Unknown                State:
         Source:                                                         Archive:                               None



         Foreword by GunsSaveLives.net

         This article was originally written several years ago by Claude Werner. It is republished here,
         in its entirety (including data tables) with permission.

         While the source material is somewhat dated there is still a lot of information we can learn
         from this. One thing to also note is that the stories used for this study were all situations in
         which a citizen successfully defended themselves. This means that the study focuses on and
         shows what works, not what doesn’t work.
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         Author
         Claude Werner
         Firearms Safety Training LLC

         The Armed Citizen – A Five Year Analysis

         Overview
         For the period 1997 – 2001, reports from “The Armed Citizen” column of the NRA Journals
         were collected. There were 482 incidents available for inclusion in the analysis. All involved
         the use of firearms by private citizens in self defense or defense of others. No law
         enforcement related incidents were included. The database is self-selecting in that no
         non-positive outcomes were reported in the column.

         Analysis
         As might be expected, the majority of incidents (52%) took place in the home. Next most
         common locale (32%) was in a business. Incidents took place in public places in 9% of
         reports and 7% occurred in or around vehicles.

         The most common initial crimes were armed robbery (32%), home invasion (30%), and
         burglary (18%).

         Overall, shots were fired by the defender in 72% of incidents. The average and median
         number of shots fired was 2. When more than 2 shots were fired, it generally appeared that
         the defender’s initial response was to fire until empty. It appears that revolver shooters are
         more likely to empty their guns than autoloader shooters. At least one assailant was killed in
         34% of all incidents. At least one assailant was wounded in an additional 29% of all
         incidents. Of the incidents where shots are fired by a defender, at least one assailant is killed
         in 53% of those incidents.

         Handguns were used in 78% of incidents while long guns were used in 13%; in the balance
         the type of firearm was not reported. The most common size of handgun was the .35 caliber
         family (.38, .357, 9mm) at 61%, with most .38s apparently being of the 5 shot variety.
         Mouseguns (.380s and below) were at 23%, and .40 caliber and up at 15%.

         The range of most incidents appears to be short but in excess of touching distance. It appears
         that most defenders will make the shoot decision shortly before the criminal comes within
         arm’s length. Defenders frequently communicate with their attackers before shooting.

         The firearm was carried on the body of the defender in only 20% of incidents. In 80% of
         cases, the firearm was obtained from a place of storage, frequently in another room.

         Reloading was required in only 3 incidents. One of those involved killing an escaped lion
         with a .32 caliber revolver, which was eventually successful after 13 shots.
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         Multiple conspirators were involved in 36% of the incidents. However, there were no
         apparent cases of getaway drivers or lookouts acting as reinforcements for the criminal
         actor(s) once shooting starts. At the sound of gunfire, immediate flight was the most common
         response for drivers and lookouts.

         When multiple conspirators were involved, the first tier was a two man action team. If
         another member was available, he was usually the driver of the getaway car and remained in
         the car. If a fourth conspirator was involved, he was stationed immediately outside the target
         location as a lookout for the police or other possible intervening parties. The outside
         conspirators do not generally appear to be armed. It does appear that the trend over the period
         has increased from one weapon in the action team to two weapons.

         The largest group of violent criminal actors was 7, a group that committed serial home
         invasions in Rochester NY. An alert and prepared homeowner, who saw them invade an
         adjacent home, accessed his shotgun, and dispatched them (2 killed and 1 seriously wounded)
         when they broke in his door.

         Incidents rarely occurred in reaction time (i.e., ¼ second increments). Most commonly,
         criminals acted in a shark-like fashion, slowly circling and alerting their intended victims.
         The defender(s) then had time to access even weapons that were stored in other rooms and
         bring them to bear.

         The most common responses of criminals upon being shot were to flee immediately or
         expire. With few exceptions, criminals ceased their advances immediately upon being shot.
         Even small caliber handguns displayed a significant degree of instant lethality (30 per cent
         immediate one shot kills) when employed at close range. Many criminal actors vocally
         expressed their fear of being shot when the defender displayed a weapon. Upon the criminals’
         flight, the “victims” frequently chased and captured or shot the criminals and held them for
         the authorities.

         Conclusions
         1) Even small caliber weapons are adequate to solve the vast majority of incidents requiring
         armed self-defense.
         2) Mindset of the potential victim was far more important than the type of weapon used. All
         the victims were willing to fight their opponents in order to survive. Although not common,
         in some cases bridge weapons, such as pens, were used to gain time to access the firearm.
         3) Frequently, the defenders were aware that something was amiss before the action started
         and then placed themselves in position to access their weapons. Awareness of the
         surroundings appears to be a key element of successful defense.
         4) The defenders had some measure of familiarity with their firearms. Although perhaps not
         trained in the formal sense, they appear to be able to access a firearm and immediately put it
         into action. At least one defender learned from a previous experience and made the firearm
         more accessible for subsequent use.
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         5) Training or practice with a firearm should include a substantial amount of accessing the
         firearm from off body locations, such as drawers, underneath counters, etc.
         6) This analysis does not present a view of the totality of armed self-defense in that
         non-positive outcomes were not available for inclusion in the database. The analysis may,
         however, be useful in helping to describe a methodology for successful armed self-defense.
         This methodology might be described as:
         1. be aware,
         2. be willing to fight,
         3. have a weapon accessible,
         4. be familiar enough with the weapon to employ it without fumbling,
         5. when ready, communicate, both verbally and non-verbally, to the attacker that resistance
         will be given, and
         6. if the attacker does not withdraw, counterattack without hesitation.



           Location of Incident
              Location       %
          Home              52%
          Business          32%
          Public            9%
          In/around Vehicle 7%



                  Shots Fired
          Type of Location No Yes
          Business          33% 72%
          Home              25% 75%
          Public            29% 71%
          In/around Vehicle 35% 65%
          Total             28% 72%



          Number of Shots Fired
          Average        2.2
          Median         2
          Mode           1
          Max            20
                                                                                                         Exhibit 41
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            Gun Type
          Handgun 78%
          Long Gun 13%
          Unknown 8%



                 Body Carry
          Type of Location No Yes
          Business          69% 31%
          Home              94% 6%
          Public            49% 51%
          In/around Vehicle 65% 35%
          Total             80% 20%



              Multiple Assailants
          Type of Location No Yes
          Business          76% 24%
          Home              72% 28%
          Public            62% 38%
          Retail Business 52% 48%
          In/around Vehicle 49% 51%
          Total             80% 20%
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                   •              •                                                •             •
                          — This is almost comical, haha. Why                                — Great show guys- does Nick
               not just use your web url to redirect to                        have a rail under his drivers seat? I can send a
               welikeshooting?                                                 tough-claw to keep the …

         We Like Shooting 109 – Bear back                                We Like Shooting 129 – Cough Hack Snort
                       •              •                                            •         •
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               accurate descriptions of …

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                           An Open Letter to 22LR Buyers and Seekers
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   Firearms. Ammunition Sales. Initiative Statute.




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            PROPOSITION   FIREARMS. AMMUNITION SALES.

           63             INITIATIVE STATUTE.


             OFFICIAL TITLE AND SUMMARY                                                PREPARED BY THE ATTORNEY GENERAL


           • Requires individuals to pass a background check       National Instant Criminal Background Check
63           and obtain Department of Justice authorization        System.
             to purchase ammunition.
           • Prohibits possession of large-capacity              SUMMARY OF LEGISLATIVE ANALYST’S ESTIMATE OF NET
             ammunition magazines, and requires their            STATE AND LOCAL GOVERNMENT FISCAL IMPACT:
             disposal, as specified.                             • Increased state and local court and law
           • Requires most ammunition sales be made                enforcement costs, potentially in the tens
             through licensed ammunition vendors and               of millions of dollars annually, related to a
             reported to Department of Justice.                    new court process for removing firearms from
                                                                   prohibited persons after they are convicted.
           • Requires lost or stolen firearms and ammunition
             be reported to law enforcement.                     • Potential increase in state costs, not likely to
                                                                   exceed the millions of dollars annually, related to
           • Prohibits persons convicted of stealing a firearm
                                                                   regulating ammunition sales. These costs would
             from possessing firearms.
                                                                   likely be offset by fee revenues.
           • Establishes new procedures for enforcing laws
                                                                 • Potential net increase in state and local
             prohibiting firearm possession.
                                                                   correctional costs, not likely to exceed the low
           • Requires Department of Justice to provide             millions of dollars annually, related to changes in
             information about prohibited persons to federal       firearm and ammunition penalties.


             ANALYSIS BY THE LEGISLATIVE ANALYST

           BACKGROUND                                                 Check System (NICS). The NICS searches
                                                                      a number of federal databases to ensure
           Restrictions on Firearm and                                that the buyer is not a prohibited person. As
           Ammunition Possession                                      allowed by federal law, California processes
                                                                      all background check requests from firearm
           Under federal and state law, certain individuals           dealers in the state directly by using NICS
           are not allowed to have firearms. These “prohibited        and various state databases.
           persons” include individuals (1) convicted of
           felonies and some misdemeanors (such as assault         • Removal of Firearms From Prohibited Persons.
           or battery), (2) found by a court to be a danger          The California Department of Justice (DOJ)
           to themselves or others due to mental illness,            maintains a database of individuals who have
           and (3) with a restraining order against them. In         legally bought or registered a firearm with
           California, individuals who are not allowed to have       the state. DOJ agents use this information to
           firearms are also not allowed to have ammunition.         remove firearms from individuals who are no
                                                                     longer allowed to have firearms.
           Regulation of Firearm Sales                             • Other Regulations. Other state regulations
           Both federal and state law include various                related to firearms include: limits on the type
           regulations related to firearm sales, including the       of firearms that can be bought, a ten-day
           licensing of firearm dealers. Such regulations            waiting period before a dealer may give a
           include:                                                  firearm to a buyer, and requirements for
              • Background Checks. Under federal law, firearm        recording and reporting firearm sales.
                dealers must request background checks           Fees charged to firearm dealers and buyers
                of individuals seeking to buy firearms from      generally offset the state’s costs to regulate firearm
                the National Instant Criminal Background         sales.

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                                                                        FIREARMS. AMMUNITION SALES.       PROPOSITION

                                                                                   INITIATIVE STATUTE.
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  ANALYSIS BY THE LEGISLATIVE ANALYST                                                                    CONTINUED


Regulation of Ammunition Sales                             transaction to support its administrative and
Prior to this year, the state did not regulate
                                                           enforcement costs. DOJ could adjust this fee                      63
                                                           cap annually for inflation.
ammunition sales in the same manner as firearms.
In July 2016, the state enacted legislation to          • Other Regulations. Beginning January 2018,
increase the regulation of ammunition sales. Such         state law generally will require that most
regulations include:                                      ammunition sales (including Internet and out-
                                                          of-state sales) take place through a licensed
   • Licenses to Sell Ammunition. Beginning January
                                                          ammunition dealer. In addition, beginning
     2018, individuals and businesses will be
                                                          July 2019, most California residents will be
     required to obtain a one-year license from DOJ
                                                          prohibited from bringing ammunition into
     to sell ammunition. Certain individuals and
                                                          the state without first having the ammunition
     businesses would not be required to obtain a
                                                          delivered to a licensed ammunition dealer.
     license, such as licensed hunters selling less
                                                          Failure to comply with these requirements is a
     than 50 rounds of ammunition per month to
                                                          misdemeanor.
     another licensed hunter while on a hunting
     trip. In order to obtain a license, ammunition   Status of Recent Legislation
     dealers will need to demonstrate that they are
     not prohibited persons. In addition, certain     As discussed above, the state recently enacted
     entities will be able to automatically receive   legislation to increase the regulation of ammunition
     an ammunition license, such as firearm           sales. The state also recently enacted legislation
     dealers licensed by both the state and federal   to further limit the ownership of large-capacity
     government and firearm wholesalers. A vendor     magazines and to create a penalty for filing a false
     who fails to comply with ammunition sale         lost or stolen firearm report to law enforcement.
     requirements three times would have their        These laws will take effect unless they are placed
     ammunition dealer’s license permanently          before the voters as referenda. If that occurs, voters
     revoked. DOJ could charge a fee to individuals   will determine whether the laws take effect.
     and businesses seeking a license to sell
     ammunition to support its administrative and     PROPOSAL
     enforcement costs.                               Proposition 63 (1) changes state regulation of
   • DOJ Approval to Buy Ammunition. Beginning July   ammunition sales, (2) creates a new court process
     2019, ammunition dealers will be required        to ensure the removal of firearms from prohibited
     to check with DOJ at the time of purchase        persons after they are convicted of a felony or
     that individuals seeking to buy ammunition       certain misdemeanors, and (3) implements various
     are not prohibited persons. This requirement     other provisions. Additionally, Proposition 63 states
     would not apply to some individuals, such        that the Legislature can change its provisions if
     as persons permitted to carry concealed          such changes are “consistent with and further the
     weapons. In addition, ammunition dealers         intent” of the measure. Such changes can only
     will generally be required to collect and        be made if 55 percent of the members of each
     report information—such as the date of the       house of the Legislature passes them and the bill is
     sale, the buyers’ identification information,    enacted into law.
     and the type of ammunition purchased—to
     DOJ for storage in a database for two years.     Changes to State Regulation of Ammunition Sales
     Failure to comply with these requirements        Proposition 63 includes various regulations
     is a misdemeanor (punishable by a fine and/      related to the sale of ammunition. Some of the
     or imprisonment in county jail). DOJ could       regulations would replace existing law with similar
     generally charge an individual seeking to        provisions. However, other regulations proposed by
     purchase ammunition a fee of up to $1 per        Proposition 63 are different, as discussed below.

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           PROPOSITION   FIREARMS. AMMUNITION SALES.

          63             INITIATIVE STATUTE.




             ANALYSIS BY THE LEGISLATIVE ANALYST                                                               CONTINUED

           Requirements to Buy Ammunition. Proposition 63         Other Ammunition Requirements. This measure
63         includes various requirements for individuals          prohibits most California residents from bringing
           seeking to buy ammunition and for DOJ to regulate      ammunition into the state without first having the
           such purchases. Specifically, the measure:             ammunition delivered to a licensed ammunition
              • Requires individuals to obtain a four-year        dealer beginning in January 2018—a year and a
                permit from DOJ to buy ammunition and for         half earlier than under current law. Additionally,
                ammunition dealers to check with DOJ that         failure to comply with this requirement would
                individuals buying ammunition have such           change from a misdemeanor to an infraction
                permits.                                          (punishable by a fine) for the first offense and
                                                                  either an infraction or a misdemeanor for any
              • Requires DOJ to revoke permits from
                                                                  additional offense. The measure also requires DOJ
                individuals who become prohibited.
                                                                  to store certain ammunition sales information in a
              • Allows DOJ to charge each person applying         database indefinitely, rather than for two years.
                for a four-year permit a fee of up to $50
                to support its various administrative and         Creates New Court Process for
                enforcement costs related to ammunition
                                                                  Removal of Firearms
                sales.
                                                                  This measure creates a new court process to ensure
           The state, however, enacted legislation in
                                                                  that individuals convicted of offenses that prohibit
           July 2016 to replace the above provisions with
                                                                  them from owning firearms do not continue to have
           alternative ones if Proposition 63 is approved by
                                                                  them. Beginning in 2018, the measure requires
           the voters. (This legislation was enacted pursuant
           to the provision of Proposition 63 allowing for        courts to inform offenders upon conviction that
           changes that are “consistent with and further the      they must (1) turn over their firearms to local law
           intent” of the proposition, as described earlier.)     enforcement, (2) sell the firearms to a licensed
           Specifically, under the legislation: (1) ammunition    firearm dealer, or (3) give the firearms to a licensed
           dealers would be required to check with DOJ that       firearm dealer for storage. The measure also
           individuals seeking to buy ammunition are not          requires courts to assign probation officers to report
           prohibited persons at the time of purchase and         on what offenders have done with their firearms. If
           (2) DOJ could generally charge such individuals up     the court finds that there is probable cause that an
           to $1 per transaction. These provisions are similar    offender still has firearms, it must order that the
           to current law. Fewer individuals, however, would      firearms be removed. Finally, local governments
           be exempt from this check than under current           or state agencies could charge a fee to reimburse
           law. For example, individuals permitted to carry       them for certain costs in implementing the
           concealed weapons would be subject to this check.      measure (such as those related to the removal or
                                                                  storage of firearms).
           Licenses to Sell Ammunition. Similar to current law,
           Proposition 63 requires individuals and businesses
           to obtain a one-year license from DOJ to sell
                                                                  Implements Other Provisions
           ammunition. However, the measure changes the           Reporting Requirements. The measure includes
           types of individuals and businesses that would         a number of reporting requirements related to
           be exempt from obtaining a license. For example,       firearms and ammunition. For example, the
           the measure generally exempts individuals and          measure requires that ammunition dealers report
           businesses that sell a small number of rounds of       the loss or theft of ammunition within 48 hours.
           ammunition from the requirement to get a license.      It also requires that most individuals report the
           The measure also makes various changes in the          loss or theft of firearms within five days to local
           penalties for failure to follow ammunition sale        law enforcement. An individual who does not make
           requirements. For example, it establishes a new        such a report within five days would be guilty of
           criminal penalty—specifically, a misdemeanor—for       an infraction for the first two violations. Additional
           failing to follow vendor licensing requirements.       violations would be a misdemeanor. This measure

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  ANALYSIS BY THE LEGISLATIVE ANALYST                                                                      CONTINUED

also reduces the penalty for an individual who          workload to determine whether prohibited persons
knowingly submits a false report to local law           have firearms and whether they have surrendered                        63
enforcement from a misdemeanor to an infraction         them. In addition, state and local law enforcement
and eliminates the prohibition from owning              would have new workload related to removing
firearms for ten years for such an individual. This     firearms from offenders who fail to surrender
measure also requires DOJ to submit the name,           them as part of the new court process. They could
date of birth, and physical description of any newly    also have increased costs related to the storage
prohibited person to NICS.                              or return of firearms. Some of the increased law
Large-Capacity Magazines. Since 2000, state law         enforcement costs related to the removal, storage,
has generally banned individuals from obtaining         or return of firearms would be offset to the extent
large-capacity magazines (defined as those              that local governments and state agencies charge
holding more than ten rounds of ammunition).            and collect fees for these activities, as allowed by
The law, however, allowed individuals who had           this measure. The total magnitude of these state
large-capacity magazines before 2000 to keep            and local costs could be in the tens of millions of
them for their own use. Beginning July 2017,            dollars annually. Actual costs would depend on how
recently enacted law will prohibit most of these        this measure was implemented.
individuals from possessing these magazines.            Potential Increased State Regulatory Costs. On
Individuals who do not comply are guilty of an          balance, the measure’s changes to the regulation
infraction. However, there are various individuals      of ammunition sales could increase state costs.
who will be exempt from this requirement—such as        For example, more individuals or businesses would
an individual who owns a firearm (obtained before       likely be subject to state ammunition requirements
2000) that can only be used with a large-capacity       under the measure. The actual fiscal effect of
magazine. Proposition 63 eliminates several             the changes would depend on how they are
of these exemptions, as well as increases the           implemented and how individuals respond to them.
maximum penalty for possessing large-capacity           We estimate that the potential increase in state
magazines. Specifically, individuals who possess        costs would not likely exceed the millions of dollars
such magazines after July 2017 would be guilty of       annually. These costs would likely be offset by the
an infraction or a misdemeanor.                         various fees authorized by the measure and existing
Penalty for Theft of Firearms. Under current state      state law.
law, the penalty for theft of firearms worth $950 or    Potential Net Increased Correctional Costs. This
less is generally a misdemeanor punishable by up        measure makes various changes to penalties
to one year in county jail. Under this measure, such    related to firearms and ammunition. While some
a crime would be a felony and could be punishable       changes reduce penalties for certain offenses, other
by up to three years in state prison. Additionally,     changes increase penalties for certain offenses.
individuals previously convicted of a misdemeanor       On net, these changes could result in increased
for the theft of a firearm would be prohibited from     correctional costs to state and local governments,
owning firearms for ten years. Currently, there is no   such as to house individuals in prison and jail. The
such prohibition for a misdemeanor conviction for       magnitude of such costs would depend primarily on
theft of firearms.                                      the number of violations and how the measure is
                                                        enforced. The potential net increase in correctional
FISCAL EFFECTS                                          costs would likely not exceed the low millions of
                                                        dollars annually.
Increased Court and Law Enforcement Costs. The
new court process for removing firearms from                Visit http://www.sos.ca.gov/measure-contributions
prohibited persons after they are convicted would          for a list of committees primarily formed to support
result in increased workload for the state and local      or oppose this measure. Visit http://www.fppc.ca.gov/
governments. For example, state courts and county          transparency/top‑contributors/nov-16-gen-v2.html
probation departments would have some increased               to access the committee’s top 10 contributors.

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       63         INITIATIVE STATUTE.


                                             ★ ARGUMENT IN FAVOR OF PROPOSITION 63 ★
       PROPOSITION 63 WILL KEEP US SAFER BY REDUCING                                 Californians to own guns for self-defense, hunting, and
       GUN VIOLENCE                                                                  recreation.
       Police in Dallas doing their job . . .. A nightclub                           Right now, thousands of dangerous felons remain illegally
       in Orlando . . .. An office holiday party in San                              armed because we don’t ensure that people convicted
       Bernardino . . .. A church in Charleston . . .. A                             of violent crimes actually relinquish their guns after
63     movie theater in Aurora . . .. An elementary school in                        conviction. The Department of Justice identified more
       Newtown . . ..                                                                than 17,000 felons and other dangerous people with more
       What’s next? How many more people need to die from gun                        than 34,000 guns, including more than 1,400 assault
       violence before we take bold action to save lives?                            weapons.
       More than 300 Americans are shot each day, more than                          Passing Proposition 63 will represent a historic and
       80 of them fatally.                                                           unprecedented step forward for gun safety.
       More than 1 million Americans were killed or seriously                        LEADERS FROM ACROSS CALIFORNIA SUPPORT
       injured by guns from 2004–20I4.                                               PROPOSITION 63, INCLUDING:
       ENOUGH!                                                                       • Lieutenant Governor Gavin Newsom • U.S. Senator
       It’s time to take action to keep guns and ammo out of the                     Dianne Feinstein • Law Center to Prevent Gun Violence
       wrong hands.                                                                  • California Democratic Party • California Secretary of
                                                                                     State Alex Padilla • Speaker Emeritus of the Assembly
       Proposition 63—the Safety for All Act—will save lives                         Toni Atkins • Speaker Emeritus of the Assembly John
       by closing loopholes to prevent dangerous criminals,                          Pérez • Sheriff Vicki Hennessy, San Francisco • Former
       domestic abusers, and the dangerously mentally ill from                       Police Chief Ken James, Emeryville • SEIU • League of
       obtaining and using deadly weapons.                                           Women Voters of California • California Young Democrats
       PROPOSITION 63 WILL:                                                          • California Federation of Teachers • San Francisco Board
       • Remove illegal guns from our communities by ensuring                        of Education • Equality California • Courage Campaign
          that dangerous criminals and domestic abusers sell or                      • California American College of Physicians • California
          transfer their firearms after they’re convicted.                           American College of Emergency Physicians • Southern
       • Require any business that sells ammunition to report if                     California Public Health Association • Clergy and Laity
          their ammunition is lost or stolen.                                        United for Economic Justice • Coalition Against Gun
       • Require people to notify law enforcement if their guns                      Violence • Rabbis Against Gun Violence • States United
          are lost or stolen, before the weapons end up in the                       to Prevent Gun Violence • Stop Handgun Violence • Stop
          wrong hands.                                                               Our Shootings • Women Against Gun Violence • Youth
       • Ensure people convicted of gun theft are ineligible to                      Alive!
          own guns.                                                                  To learn more please visit www.SafetyforAll.com.
       • Strengthen our background check systems and ensure                          GAVIN NEWSOM, Lieutenant Governor of California
          that California law enforcement shares data about
          dangerous people with the FBI.                                             DIANNE FEINSTEIN, United States Senator
       Proposition 63 keeps guns and ammo out of the                                 ROBYN THOMAS, Executive Director
       wrong hands, while protecting the rights of law-abiding                       Law Center to Prevent Gun Violence

                                        ★ REBUTTAL TO ARGUMENT IN FAVOR OF PROPOSITION 63 ★
       Terrorists don’t follow the law!                                              ammunition diverts critical resources and focus away from
       Gavin Newsom refuses to acknowledge that the Orlando                          effective anti-terrorism efforts, leaving the public more
       and San Bernardino attacks were ISIS inspired Islamic                         vulnerable to attack and LESS SAFE.
       radicalism. It is the same ideology that motivated the                        There’s a reason law enforcement overwhelmingly opposes
       9/11 terror attacks that killed 2,996 innocents.                              Prop. 63.
       Exploiting terrorist attacks to push sweeping laws                            The public interest would be better served if these
       affecting law-abiding peoples’ civil liberties is misleading,                 resources were used to educate more Californians
       wrong, and dangerous.                                                         about what they can do to protect their families and
       None of the proposed laws would prevent terrorist attacks.                    communities from terrorist attacks or to further train law
       The reality is terrorists can always find the means to wreak                  enforcement to do so.
       havoc, a box cutter in a plane on 9/11, a homemade                            Stop this dangerous abuse of public resources.
       bomb in Boston, or a truck in Nice, France. Terrorists and                    Vote NO on Prop. 63!
       criminals get weapons from the black market, make them,
       or steal them from law-abiding citizens.                                      ALON STIVI, President
       Everyone agrees that preventing weapons from falling                          Direct Measures International, Inc.
       into the wrong hands is crucial. We all share the concern                     WILLIAM “BILLY” BIRDZELL, U.S. Special Operations
       about the growing trends of terrorism and radicalization.                     Command Anti-Terrorism Instructor
       But, Prop. 63 is NOT the answer.                                              RICHARD GRENELL, Longest serving U.S. Spokesman at
                                                                                     the United Nations
       Spending tens of millions of taxpayer dollars year after
       year on useless lists of everyone who buys and sells
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                                            Arguments printed on this page are the opinions of the authors, and have not been checked for accuracy by any official agency.

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                                                                                                                                    INITIATIVE STATUTE.
                                                                                                                                                          63
                                                      ★ ARGUMENT AGAINST PROPOSITION 63 ★
Prop. 63 is overwhelmingly opposed by the law                                              would waste should be used to hire more officers and to
enforcement community and civil rights groups because                                      target, investigate, and prosecute dangerous individuals
it will burden law abiding citizens without keeping violent                                and terrorists.
criminals and terrorists from accessing firearms and                                       After closely analyzing the language of Prop. 63, the
ammunition.                                                                                law enforcement community found many problems in
The California State Sheriffs’ Association, Association                                    the details. Due to strict limitations on the Legislature’s             63
of Deputy District Attorneys for Los Angeles County,                                       ability to amend voter-enacted propositions, most of these
California Correctional Peace Officers Association,                                        problems will be difficult or impossible for the Legislature
California Fish & Game Wardens’ Association, California                                    to fix if Prop. 63 passes, saddling California with the
Reserve Peace Officers Association, and numerous other                                     burdens and costs of this flawed proposal forever.
law enforcement and civic groups, representing tens                                        By going around the Legislature, this initiative limits
of thousands of public safety professionals throughout                                     public safety professionals in developing future legislation
California, are united in their opposition to this ineffective,                            that would truly promote public safety. California
burdensome, and costly proposal.                                                           taxpayers should not waste hundreds of millions of their
Prop. 63 would divert scarce law enforcement resources                                     dollars on ineffective laws that have no value to law
away from local law enforcement and overburden an                                          enforcement and will harm public safety by diverting
already overcrowded court system with the enforcement                                      resources away from effective law enforcement activities
of flawed laws that will turn harmless, law-abiding citizens                               that are critical to public safety.
into criminals. In fact, New York recently abandoned                                       Please visit WWW.WHERESMYAMMO.COM for more
its enforcement of a similar proposal after it was                                         information.
passed, finding that it was impossible to implement and                                    PLEASE VOTE NO ON PROP. 63.
effectively maintain.
Doing what actually works to keep the public safe is                                       DONNY YOUNGBLOOD, President
the highest priority of law enforcement professionals                                      California State Sheriffs’ Association
who dedicate their lives to protecting Californians.                                       KEVIN BERNZOTT, Chief Executive Officer
Unfortunately, Prop. 63 will not make anyone safer. To                                     California Reserve Peace Officers Association
the contrary, by directing resources away from measures                                    TIFFANY CHEUVRONT, Principal Officer
that are truly effective at preventing the criminal element                                Coalition for Civil Liberties
from acquiring guns and ammunition, it would make us
all less safe. The immense public resources that Prop. 63




                                           ★ REBUTTAL TO ARGUMENT AGAINST PROPOSITION 63 ★
As law enforcement and public safety officials, we’re not                                  Prop. 63 also improves background check systems so that
surprised that groups such as the NRA and its affiliates                                   law enforcement can prevent people banned from owning
oppose Proposition 63. Make no mistake, the so-called                                      weapons—such as violent felons—from buying guns and
“Coalition for Civil Liberties” is actually an NRA front                                   ammo.
group.                                                                                     And Prop. 63 clarifies existing law so that any gun theft
The gun lobby often claims we should focus on enforcing                                    is a felony, ensuring that people who steal guns can’t
existing gun laws, and that’s exactly what this initiative                                 own guns. That’s another common-sense reform to save
does—Prop. 63 closes loopholes and helps enforce existing                                  lives overwhelmingly supported by law enforcement
laws to keep guns and ammo out of the wrong hands.                                         professionals.
For example, Prop. 63 ensures dangerous convicts                                           Prop. 63 will close loopholes in our existing laws and
prohibited from owning weapons follow the law and get                                      prevent dangerous criminals, domestic abusers, and the
rid of their firearms. Law enforcement professionals have                                  dangerously mentally ill from obtaining and using deadly
found that felons and dangerous people currently possess                                   weapons.
thousands of guns illegally—so closing this loophole will
save lives.                                                                                NANCY O’MALLEY, District Attorney
Prop. 63 also requires reporting lost and stolen firearms,                                 Alameda County
to help police shut down gun trafficking rings and locate                                  JEFF ROSEN, District Attorney
caches of illegal weapons. Prop. 63 will help police                                       Santa Clara County
recover stolen guns before they’re used in crimes and                                      VICKI HENNESSY, Sheriff
return them to their lawful owners.                                                        San Francisco

   Arguments printed on this page are the opinions of the authors, and have not been checked for accuracy by any official agency.
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  TEXT OF PROPOSED LAWS                                            PROPOSITION 62 CONTINuED


subdivision (h) of Section 1170, in connection with a civil         shall automatically be converted to imprisonment in the
action brought against a federal, state, or local jail, prison,     state prison for life without the possibility of parole under
or correctional facility, or any official or agent thereof, shall   the terms and conditions of this act. The State of California
be paid directly, after payment of reasonable attorney’s            shall not carry out any execution following the effective
fees and litigation costs approved by the court, to satisfy         date of this act.
any outstanding restitution orders or restitution fines             (c) Following the effective date of this act, the Supreme
against that person. The balance of the award shall be              Court may transfer all death penalty appeals and habeas
forwarded to the payee after full payment of all outstanding        petitions pending before the Supreme Court to any district
restitution orders and restitution fines, subject to
subdivisions (e) and (i). The Department of Corrections
                                                                    of the Court of Appeal or superior court, in the Supreme          63
                                                                    Court’s discretion.
and Rehabilitation shall make all reasonable efforts to
notify the victims of the crime for which that person was           SEC. 11. Effective Date.
convicted concerning the pending payment of any                     This act shall become effective on the day following the
compensatory or punitive damages. For any prisoner                  election at which it was approved, pursuant to subdivision
punished by imprisonment in a county jail pursuant to               (a) of Section 10 of Article II of the California Constitution.
subdivision (h) of Section 1170, the agency is authorized
to make all reasonable efforts to notify the victims of the         SEC. 12. Severability.
crime for which that person was convicted concerning the            The provisions of this act are severable. If any provision of
pending payment of any compensatory or punitive                     this act or its application is held invalid, including but not
damages.                                                            limited to Section 10, that invalidity shall not affect other
(o) (1) Amounts transferred to the California Victim                provisions or applications that can be given effect without
Compensation Board for payment of direct orders of                  the invalid provision or application.
restitution shall be paid to the victim within 60 days from
the date the restitution revenues are received by the               PROPOSITION 63
California Victim Compensation Board. If the restitution            This initiative measure is submitted to the people in
payment to a victim is less than twenty-five dollars ($25),         accordance with the provisions of Section 8 of Article II of
then payment need not be forwarded to that victim until             the California Constitution.
the payment reaches twenty-five dollars ($25) or when the
victim requests payment of the lesser amount.                       This initiative measure amends, repeals, and adds sections
                                                                    to the Penal Code; therefore, existing provisions proposed
(2) If a victim cannot be located, the restitution revenues         to be deleted are printed in strikeout type and new
received by the California Victim Compensation Board on             provisions proposed to be added are printed in italic type
behalf of the victim shall be held in trust in the Restitution      to indicate that they are new.
Fund until the end of the state fiscal year subsequent to
the state fiscal year in which the funds were deposited or
until the time that the victim has provided current address         PROPOSED LAW
information, whichever occurs sooner. Amounts remaining                            The Safety for All Act of 2016
in trust at the end of the specified period of time shall           SECTION 1. Title.
revert to the Restitution Fund.
                                                                    This measure shall be known and may be cited as “The
(3) (A) A victim failing to provide a current address within        Safety for All Act of 2016.”
the period of time specified in paragraph (2) may provide
documentation to the Department of Corrections and                  SEC. 2. Findings and Declarations.
Rehabilitation, which shall verify that moneys were                 The people of the State of California find and declare:
collected on behalf of the victim. Upon receipt of that
                                                                    1. Gun violence destroys lives, families and communities.
verified information from the Department of Corrections
                                                                    From 2002 to 2013, California lost 38,576 individuals to
and Rehabilitation, the California Victim Compensation              gun violence. That is more than seven times the number of
Board shall transmit the restitution revenues to the victim         U.S. soldiers killed in combat during the wars in Iraq and
in accordance with the provisions of subdivision (c) or (h).        Afghanistan combined. Over this same period, 2,258
(B) A victim failing to provide a current address within the        children were killed by gunshot injuries in California. The
period of time specified in paragraph (2) may provide               same number of children murdered in the Sandy Hook
documentation to the agency designated by the board of              elementary school massacre are killed by gunfire in this
supervisors in the county where the prisoner punished by            state every 39 days.
imprisonment in a county jail pursuant to subdivision (h)           2. In 2013, guns were used to kill 2,900 Californians,
of Section 1170 is incarcerated, which may verify that              including 251 children and teens. That year, at least
moneys were collected on behalf of the victim. Upon                 6,035 others were hospitalized or treated in emergency
receipt of that verified information from the agency, the           rooms for non-fatal gunshot wounds, including 1,275
California Victim Compensation Board shall transmit the             children and teens.
restitution revenues to the victim in accordance with the
provisions of subdivision (d) or (h).                               3. Guns are commonly used by criminals. According to the
                                                                    California Department of Justice, in 2014 there were              62
SEC. 10. Retroactive Application of Act.                            1,169 firearm murders in California, 13,546 armed
(a) In order to best achieve the purpose of this act as             robberies involving a firearm, and 15,801 aggravated
stated in Section 3 and to achieve fairness, equality, and          assaults involving a firearm.
uniformity in sentencing, this act shall be applied                 4. This tragic violence imposes significant economic
retroactively.                                                      burdens on our society. Researchers conservatively
(b) In any case where a defendant or inmate was sentenced           estimate that gun violence costs the economy at least
to death prior to the effective date of this act, the sentence      $229 billion every year, or more than $700 per American

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       per year. In 2013 alone, California gun deaths and injuries    ammunition magazines, but does not prohibit the general
       imposed $83 million in medical costs and $4.24 billion in      public from possessing them. We should close that
       lost productivity.                                             loophole. No one except trained law enforcement should
       5. California can do better. Reasonable, common-sense          be able to possess these dangerous ammunition magazines.
       gun laws reduce gun deaths and injuries, keep guns away        13. Although the State of California conducts background
       from criminals and fight illegal gun trafficking. Although     checks on gun buyers who live in California, we have to rely
       California has led the nation in gun safety laws, those laws   on other states and the FBI to conduct background checks
       still have loopholes that leave communities throughout the     on gun buyers who live elsewhere. We should make
63     state vulnerable to gun violence and mass shootings. We        background checks outside of California more effective by
       can close these loopholes while still safeguarding the         consistently requiring the state to report who is prohibited
       ability of law-abiding, responsible Californians to own guns   from possessing firearms to the federal background check
       for self-defense, hunting and recreation.                      system.
       6. We know background checks work. Federal background          14. The theft of a gun is a serious and potentially violent
       checks have already prevented more than 2.4 million gun        crime. We should clarify that such crimes can be charged
       sales to convicted criminals and other illegal purchasers in
       America. In 2012 alone, background checks blocked              as felonies, and prevent people who are convicted of such
       192,043 sales of firearms to illegal purchasers including      crimes from possessing firearms.
       82,000 attempted purchases by felons. That means               SEC. 3. Purpose and Intent.
       background checks stopped roughly 225 felons from              The people of the State of California declare their purpose
       buying firearms every day. Yet California law only requires    and intent in enacting “The Safety for All Act of 2016”
       background checks for people who purchase firearms, not
                                                                      (the “Act”) to be as follows:
       for people who purchase ammunition. We should close
       that loophole.                                                 1. To implement reasonable and common-sense reforms
       7. Right now, any violent felon or dangerously mentally ill    to make California’s gun safety laws the toughest in the
       person can walk into a sporting goods store or gun shop in     nation while still safeguarding the Second Amendment
       California and buy ammunition, no questions asked. That        rights of all law-abiding, responsible Californians.
       should change. We should require background checks for         2. To keep guns and ammunition out of the hands of
       ammunition sales just like gun sales, and stop both from       convicted felons, the dangerously mentally ill, and other
       getting into the hands of dangerous individuals.               persons who are prohibited by law from possessing firearms
       8. Under current law, stores that sell ammunition are not      and ammunition.
       required to report to law enforcement when ammunition is       3. To ensure that those who buy ammunition in California—
       lost or stolen. Stores should have to report lost or stolen    just like those who buy firearms—are subject to background
       ammunition within 48 hours of discovering that it is           checks.
       missing so law enforcement can work to prevent that
       ammunition from being illegally trafficked into the hands      4. To require all stores that sell ammunition to report any
       of dangerous individuals.                                      lost or stolen ammunition within 48 hours of discovering
                                                                      that it is missing.
       9. Californians today are not required to report lost or
       stolen guns to law enforcement. This makes it difficult for    5. To ensure that California shares crucial information
       law enforcement to investigate crimes committed with           with federal law enforcement by consistently requiring the
       stolen guns, break up gun trafficking rings, and return        state to report individuals who are prohibited by law from
       guns to their lawful owners. We should require gun owners      possessing firearms to the federal background check
       to report their lost or stolen guns to law enforcement.        system.
       10. Under current law, people who commit felonies and          6. To require the reporting of lost or stolen firearms to law
       other serious crimes are prohibited from possessing            enforcement.
       firearms. Yet existing law provides no clear process for
       those people to relinquish their guns when they become         7. To better enforce the laws that require people to
       prohibited at the time of conviction. As a result, in 2014,    relinquish their firearms once they are convicted of a crime
       the Department of Justice identified more than 17,000          that makes them ineligible to possess firearms.
       people who possess more than 34,000 guns illegally,            8. To make it illegal in California to possess the kinds of
       including more than 1,400 assault weapons. We need to          military-style ammunition magazines that enable mass
       close this dangerous loophole by not only requiring            killings like those at Sandy Hook Elementary School; a
       prohibited people to tum in their guns, but also ensuring      movie theater in Aurora, Colorado; Columbine High School;
       that it happens.                                               and an office building at 101 California Street in San
       11. Military-style large-capacity ammunition magazines—        Francisco, California.
       some capable of holding more than 100 rounds of                9. To prevent people who are convicted of the theft of a
       ammunition—significantly increase a shooter’s ability to       firearm from possessing firearms, and to effectuate the
       kill a lot of people in a short amount of time. That is why    intent of Proposition 47 that the theft of a firearm is felony
       these large capacity ammunition magazines are common           grand theft, regardless of the value of the firearm, in
       in many of America’s most horrific mass shootings, from        alignment with Sections 25400 and 1192.7 of the Penal
       the killings at 101 California Street in San Francisco in      Code.
       1993 to Columbine High School in 1999 to the massacre
       at Sandy Hook Elementary School in Newtown, Connecticut        SEC. 4. Lost or Stolen Firearms.
       in 2012.                                                       SEC. 4.1. Division          4.5      (commencing          with
       12. Today, California law prohibits the manufacture,           Section 25250) is added to Title 4 of Part 6 of the Penal
       importation and sale of military-style, large capacity         Code, to read:
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      DIVISION 4.5. LOST OR STOLEN FIREARMS                        SEC. 4.2. Section 26835 of the Penal Code is amended
25250. (a) Commencing July 1, 2017, every person                   to read:
shall report the loss or theft of a firearm he or she owns or      26835. A licensee shall post conspicuously within the
possesses to a local law enforcement agency in the                 licensed premises the following warnings in block letters
jurisdiction in which the theft or loss occurred within five       not less than one inch in height:
days of the time he or she knew or reasonably should have          (a) “IF YOU KEEP A LOADED FIREARM WITHIN ANY
known that the firearm had been stolen or lost.                    PREMISES UNDER YOUR CUSTODY OR CONTROL, AND
(b) Every person who has reported a firearm lost or stolen         A PERSON UNDER 18 YEARS OF AGE OBTAINS IT AND
under subdivision (a) shall notify the local law enforcement       USES IT, RESULTING IN INJURY OR DEATH, OR CARRIES           63
agency in the jurisdiction in which the theft or loss occurred     IT TO A PUBLIC PLACE, YOU MAY BE GUILTY OF A
within five days if the firearm is subsequently recovered by       MISDEMEANOR OR A FELONY UNLESS YOU STORED
the person.                                                        THE FIREARM IN A LOCKED CONTAINER OR LOCKED
(c) Notwithstanding subdivision (a), a person shall not be         THE FIREARM WITH A LOCKING DEVICE, TO KEEP IT
required to report the loss or theft of a firearm that is an       FROM TEMPORARILY FUNCTIONING.”
antique firearm within the meaning of subdivision (c) of           (b) “IF YOU KEEP A PISTOL, REVOLVER, OR OTHER
Section 16170.                                                     FIREARM CAPABLE OF BEING CONCEALED UPON THE
25255. Section 25250 shall not apply to the following:             PERSON, WITHIN ANY PREMISES UNDER YOUR
                                                                   CUSTODY OR CONTROL, AND A PERSON UNDER 18
(a) Any law enforcement agency or peace officer acting             YEARS OF AGE GAINS ACCESS TO THE FIREARM, AND
within the course and scope of his or her employment or            CARRIES IT OFF-PREMISES, YOU MAY BE GUILTY OF A
official duties if he or she reports the loss or theft to his or   MISDEMEANOR, UNLESS YOU STORED THE FIREARM
her employing agency.                                              IN A LOCKED CONTAINER, OR LOCKED THE FIREARM
(b) Any United States marshal or member of the Armed               WITH A LOCKING DEVICE, TO KEEP IT FROM
Forces of the United States or the National Guard, while           TEMPORARILY FUNCTIONING.”
engaged in his or her official duties.                             (c) “IF YOU KEEP ANY FIREARM WITHIN ANY PREMISES
(c) Any person who is licensed, pursuant to Chapter 44             UNDER YOUR CUSTODY OR CONTROL, AND A PERSON
(commencing with Section 921) of Title 18 of the United            UNDER 18 YEARS OF AGE GAINS ACCESS TO THE
States Code and the regulations issued pursuant thereto,           FIREARM, AND CARRIES IT OFF-PREMISES TO A
and who reports the theft or loss in accordance with               SCHOOL OR SCHOOL-SPONSORED EVENT, YOU MAY BE
Section 923(g)(6) of Title 18 of the United States Code, or        GUILTY OF A MISDEMEANOR, INCLUDING A FINE OF UP
the successor provision thereto, and applicable regulations        TO FIVE THOUSAND DOLLARS ($5,000), UNLESS YOU
issued thereto.                                                    STORED THE FIREARM IN A LOCKED CONTAINER, OR
                                                                   LOCKED THE FIREARM WITH A LOCKING DEVICE.”
(d) Any person whose firearm was lost or stolen prior to
July 1, 2017.                                                      (d) “IF YOU NEGLIGENTLY STORE OR LEAVE A LOADED
                                                                   FIREARM WITHIN ANY PREMISES UNDER YOUR
25260. Pursuant to Section 11108, every sheriff or                 CUSTODY OR CONTROL, WHERE A PERSON UNDER 18
police chief shall submit a description of each firearm that       YEARS OF AGE IS LIKELY TO ACCESS IT, YOU MAY BE
has been reported lost or stolen directly into the Department      GUILTY OF A MISDEMEANOR, INCLUDING A FINE OF UP
of Justice Automated Firearms System.                              TO ONE THOUSAND DOLLARS ($1,000), UNLESS YOU
25265. (a) Every person who violates Section 25250 is,             STORED THE FIREARM IN A LOCKED CONTAINER, OR
for a first violation, guilty of an infraction, punishable by a    LOCKED THE FIREARM WITH A LOCKING DEVICE.”
fine not to exceed one hundred dollars ($100).                     (e) “DISCHARGING FIREARMS IN POORLY VENTILATED
(b) Every person who violates Section 25250 is, for a              AREAS, CLEANING FIREARMS, OR HANDLING
second violation, guilty of an infraction, punishable by a         AMMUNITION MAY RESULT IN EXPOSURE TO LEAD, A
fine not to exceed one thousand dollars ($1,000).                  SUBSTANCE KNOWN TO CAUSE BIRTH DEFECTS,
                                                                   REPRODUCTIVE HARM, AND OTHER SERIOUS PHYSICAL
(c) Every person who violates Section 25250 is, for a third        INJURY. HAVE ADEQUATE VENTILATION AT ALL TIMES.
or subsequent violation, guilty of a misdemeanor,                  WASH HANDS THOROUGHLY AFTER EXPOSURE.”
punishable by imprisonment in a county jail not exceeding
six months, or by a fine not to exceed one thousand dollars        (f) “FEDERAL REGULATIONS PROVIDE THAT IF YOU DO
($1,000), or by both that fine and imprisonment.                   NOT TAKE PHYSICAL POSSESSION OF THE FIREARM
                                                                   THAT YOU ARE ACQUIRING OWNERSHIP OF WITHIN 30
25270. Every person reporting a lost or stolen firearm             DAYS AFTER YOU COMPLETE THE INITIAL BACKGROUND
pursuant to Section 25250 shall report the make, model,            CHECK PAPERWORK, THEN YOU HAVE TO GO THROUGH
and serial number of the firearm, if known by the person,          THE BACKGROUND CHECK PROCESS A SECOND TIME
and any additional relevant information required by the            IN ORDER TO TAKE PHYSICAL POSSESSION OF THAT
local law enforcement agency taking the report.                    FIREARM.”
25275. (a) No person shall report to a local law                   (g) “NO PERSON SHALL MAKE AN APPLICATION TO
enforcement agency that a firearm has been lost or stolen,         PURCHASE MORE THAN ONE PISTOL, REVOLVER, OR
knowing the report to be false. A violation of this section is     OTHER FIREARM CAPABLE OF BEING CONCEALED
an infraction, punishable by a fine not exceeding two              UPON THE PERSON WITHIN ANY 30-DAY PERIOD AND
hundred fifty dollars ($250) for a first offense, and by a         NO DELIVERY SHALL BE MADE TO ANY PERSON WHO
fine not exceeding one thousand dollars ($1,000) for a             HAS MADE AN APPLICATION TO PURCHASE MORE
second or subsequent offense.                                      THAN ONE PISTOL, REVOLVER, OR OTHER FIREARM
(b) This section shall not preclude prosecution under any          CAPABLE OF BEING CONCEALED UPON THE PERSON
other law.                                                         WITHIN ANY 30-DAY PERIOD.”

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       (h) “IF A FIREARM YOU OWN OR POSSESS IS LOST OR                  that fact. Upon notification by the department, the dealer
       STOLEN, YOU MUST REPORT THE LOSS OR THEFT TO A                   shall transmit corrections to the record of electronic or
       LOCAL LAW ENFORCEMENT AGENCY WHERE THE LOSS                      telephonic transfer to the department, or shall transmit
       OR THEFT OCCURRED WITHIN FIVE DAYS OF THE TIME                   any fee required pursuant to Section 28225, or both, as
       YOU KNEW OR REASONABLY SHOULD HAVE KNOWN                         appropriate, and if notification by the department is
       THAT THE FIREARM HAD BEEN LOST OR STOLEN.”                       received by the dealer at any time prior to delivery of the
       SEC. 5. Strengthening the National Instant Criminal              firearm to be purchased, the dealer shall withhold delivery
       Background Check System.                                         until the conclusion of the waiting period described in
63     SEC. 5.1. Section 28220 of the Penal Code is amended
                                                                        Sections 26815 and 27540.
       to read:                                                         (f) (1) (A) The department shall immediately notify the
                                                                        dealer to delay the transfer of the firearm to the purchaser
       28220. (a) Upon submission of firearm purchaser                  if the records of the department, or the records available to
       information, the Department of Justice shall examine its         the department in the National Instant Criminal Background
       records, as well as those records that it is authorized to       Check System, indicate one of the following:
       request from the State Department of State Hospitals
       pursuant to Section 8104 of the Welfare and Institutions         (i) The purchaser has been taken into custody and placed
       Code, in order to determine if the purchaser is a person         in a facility for mental health treatment or evaluation and
       described in subdivision (a) of Section 27535, or is             may be a person described in Section 8100 or 8103 of the
       prohibited by state or federal law from possessing,              Welfare and Institutions Code and the department is
                                                                        unable to ascertain whether the purchaser is a person who
       receiving, owning, or purchasing a firearm.
                                                                        is prohibited from possessing, receiving, owning, or
       (b) To the extent that funding is available, the The             purchasing a firearm, pursuant to Section 8100 or 8103
       Department of Justice may shall participate in the National      of the Welfare and Institutions Code, prior to the conclusion
       Instant Criminal Background Check System (NICS), as              of the waiting period described in Sections 26815 and
       described in subsection (t) of Section 922 of Title 18 of        27540.
       the United States Code, and, if that participation is            (ii) The purchaser has been arrested for, or charged with,
       implemented, shall notify the dealer and the chief of the        a crime that would make him or her, if convicted, a person
       police department of the city or city and county in which        who is prohibited by state or federal law from possessing,
       the sale was made, or if the sale was made in a district in      receiving, owning, or purchasing a firearm, and the
       which there is no municipal police department, the sheriff       department is unable to ascertain whether the purchaser
       of the county in which the sale was made, that the               was convicted of that offense prior to the conclusion of the
       purchaser is a person prohibited from acquiring a firearm        waiting period described in Sections 26815 and 27540.
       under federal law.
                                                                        (iii) The purchaser may be a person described in
       (c) If the department determines that the purchaser is           subdivision (a) of Section 27535, and the department is
       prohibited by state or federal law from possessing,              unable to ascertain whether the purchaser, in fact, is a
       receiving, owning, or purchasing a firearm or is a person        person described in subdivision (a) of Section 27535,
       described in subdivision (a) of Section 27535, it shall          prior to the conclusion of the waiting period described in
       immediately notify the dealer and the chief of the police        Sections 26815 and 27540.
       department of the city or city and county in which the sale
       was made, or if the sale was made in a district in which         (B) The dealer shall provide the purchaser with information
       there is no municipal police department, the sheriff of the      about the manner in which he or she may contact the
       county in which the sale was made, of that fact.                 department regarding the delay described in subparagraph
                                                                        (A).
       (d) If the department determines that the copies of the
       register submitted to it pursuant to subdivision (d) of          (2) The department shall notify the purchaser by mail
       Section 28210 contain any blank spaces or inaccurate,            regarding the delay and explain the process by which the
       illegible,   or   incomplete      information,     preventing    purchaser may obtain a copy of the criminal or mental
       identification of the purchaser or the handgun or other          health record the department has on file for the purchaser.
       firearm to be purchased, or if any fee required pursuant to      Upon receipt of that criminal or mental health record, the
       Section 28225 is not submitted by the dealer in                  purchaser shall report any inaccuracies or incompleteness
       conjunction with submission of copies of the register, the       to the department on an approved form.
       department may notify the dealer of that fact. Upon              (3) If the department ascertains the final disposition of
       notification by the department, the dealer shall submit          the arrest or criminal charge, or the outcome of the mental
       corrected copies of the register to the department, or shall     health treatment or evaluation, or the purchaser’s eligibility
       submit any fee required pursuant to Section 28225, or            to purchase a firearm, as described in paragraph (1), after
       both, as appropriate and, if notification by the department      the waiting period described in Sections 26815 and
       is received by the dealer at any time prior to delivery of the   27540, but within 30 days of the dealer’s original
       firearm to be purchased, the dealer shall withhold delivery      submission of the purchaser information to the department
       until the conclusion of the waiting period described in          pursuant to this section, the department shall do the
       Sections 26815 and 27540.                                        following:
       (e) If the department determines that the information            (A) If the purchaser is not a person described in subdivision
       transmitted to it pursuant to Section 28215 contains             (a) of Section 27535, and is not prohibited by state or
       inaccurate or incomplete information preventing                  federal law, including, but not limited to, Section 8100 or
       identification of the purchaser or the handgun or other          8103 of the Welfare and Institutions Code, from possessing,
       firearm to be purchased, or if the fee required pursuant to      receiving, owning, or purchasing a firearm, the department
       Section 28225 is not transmitted by the dealer in                shall immediately notify the dealer of that fact and the
       conjunction with transmission of the electronic or               dealer may then immediately transfer the firearm to the
       telephonic record, the department may notify the dealer of       purchaser, upon the dealer’s recording on the register or
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record of electronic transfer the date that the firearm is       possesses any large-capacity magazine, regardless of the
transferred, the dealer signing the register or record of        date the magazine was acquired, is guilty of an infraction
electronic transfer indicating delivery of the firearm to that   punishable by a fine not to exceed one hundred dollars
purchaser, and the purchaser signing the register or record      ($100) per large-capacity magazine, or is guilty of a
of electronic transfer acknowledging the receipt of the          misdemeanor punishable by a fine not to exceed one
firearm on the date that the firearm is delivered to him or      hundred dollars ($100) per large-capacity magazine, by
her.                                                             imprisonment in a county jail not to exceed one year, or by
(B) If the purchaser is a person described in subdivision        both that fine and imprisonment.
(a) of Section 27535, or is prohibited by state or federal       (d) Any person who may not lawfully possess a large-             63
law, including, but not limited to, Section 8100 or 8103         capacity magazine commencing July 1, 2017 shall, prior
of the Welfare and Institutions Code, from possessing,           to July 1, 2017:
receiving, owning, or purchasing a firearm, the department
shall immediately notify the dealer and the chief of the         (1) Remove the large-capacity magazine from the state;
police department in the city or city and county in which        (2) Sell the large-capacity magazine to a licensed firearms
the sale was made, or if the sale was made in a district in      dealer; or
which there is no municipal police department, the sheriff       (3) Surrender the large-capacity magazine to a law
of the county in which the sale was made, of that fact in        enforcement agency for destruction.
compliance with subdivision (c) of Section 28220.
                                                                 SEC. 6.2. Section 32400 of the Penal Code is amended
(4) If the department is unable to ascertain the final
disposition of the arrest or criminal charge, or the outcome     to read:
of the mental health treatment or evaluation, or the             32400. Section 32310 does not apply to the sale of,
purchaser’s eligibility to purchase a firearm, as described      giving of, lending of, possession of, importation into this
in paragraph (1), within 30 days of the dealer’s original        state of, or purchase of, any large-capacity magazine to or
submission of purchaser information to the department            by any federal, state, county, city and county, or city agency
pursuant to this section, the department shall immediately       that is charged with the enforcement of any law, for use by
notify the dealer and the dealer may then immediately            agency employees in the discharge of their official duties,
transfer the firearm to the purchaser, upon the dealer’s         whether on or off duty, and where the use is authorized by
recording on the register or record of electronic transfer       the agency and is within the course and scope of their
the date that the firearm is transferred, the dealer signing     duties.
the register or record of electronic transfer indicating
delivery of the firearm to that purchaser, and the purchaser     SEC. 6.3. Section 32405 of the Penal Code is amended
signing the register or record of electronic transfer            to read:
acknowledging the receipt of the firearm on the date that        32405. Section 32310 does not apply to the sale to,
the firearm is delivered to him or her.                          lending to, transfer to, purchase by, receipt of, possession
(g) Commencing July 1, 2017, upon receipt of information         of, or importation into this state of, a large-capacity
demonstrating that a person is prohibited from possessing        magazine by a sworn peace officer, as defined in Chapter 4.5
a firearm pursuant to federal or state law, the department       (commencing with Section 830) of Title 3 of Part 2, or
shall submit the name, date of birth, and physical               sworn federal law enforcement officer, who is authorized to
description of the person to the National Instant Criminal       carry a firearm in the course and scope of that officer’s
Background Check System Index, Denied Persons Files.             duties.
The information provided shall remain privileged and             SEC. 6.4. Section 32406 is added to the Penal Code, to
confidential, and shall not be disclosed, except for the         read:
purpose of enforcing federal or state firearms laws.
                                                                 32406. Subdivision (c) of Section 32310 does not apply
SEC. 6. Possession of Large-Capacity Magazines.                  to an honorably retired sworn peace officer, as defined in
SEC. 6.1. Section 32310 of the Penal Code is amended             Chapter 4.5 (commencing with Section 830) of Title 3 of
to read:                                                         Part 2, or honorably retired sworn federal law enforcement
                                                                 officer, who was authorized to carry a firearm in the course
32310. (a) Except as provided in Article 2 (commencing
                                                                 and scope of that officer’s duties. “Honorably retired” shall
with Section 32400) of this chapter and in Chapter 1
(commencing with Section 17700) of Division 2 of Title 2,        have the same meaning as provided in Section 16690.
commencing January 1, 2000, any person in this state             SEC. 6.5. Section 32410 of the Penal Code is amended
who manufactures or causes to be manufactured, imports           to read:
into the state, keeps for sale, or offers or exposes for sale,   32410. Section 32310 does not apply to the sale, or
or who gives, lends, buys, or receives any large-capacity        purchase, or possession of any large-capacity magazine to
magazine is punishable by imprisonment in a county jail          or by a person licensed pursuant to Sections 26700 to
not exceeding one year or imprisonment pursuant to               26915, inclusive.
subdivision (h) of Section 1170.
                                                                 SEC. 6.6. Section 32420 of the Penal Code is repealed.
(b) For purposes of this section, “manufacturing” includes
both fabricating a magazine and assembling a magazine            32420. Section 32310 does not apply to the importation
from a combination of parts, including, but not limited to,      of a large-capacity magazine by a person who lawfully
the body, spring, follower, and floor plate or end plate, to     possessed the large-capacity magazine in the state prior to
be a fully functioning large-capacity magazine.                  January 1, 2000, lawfully took it out of the state, and is
(c) Except as provided in Article 2 (commencing with             returning to the state with the same large-capacity
Section 32400) of this chapter and in Chapter 1                  magazine.
(commencing with Section 17700) of Division 2 of Title 2,        SEC. 6.7. Section 32425 of the Penal Code is amended
commencing July 1, 2017, any person in this state who            to read:

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       32425. Section 32310 does not apply to either any of             (2) Any firearm or ammunition that the licensee takes
       the following:                                                   possession of pursuant to Chapter 5 (commencing with
       (a) The lending or giving of any large-capacity magazine to      Section 28050), or pursuant to Section 30312.
       a person licensed pursuant to Sections 26700 to 26915,           (3) Any firearm or ammunition kept at the licensee’s place
       inclusive, or to a gunsmith, for the purposes of maintenance,    of business.
       repair, or modification of that large-capacity magazine.         SEC. 7.2. Section 26915 of the Penal Code is amended
       (b) The possession of any large-capacity magazine by a           to read:
       person specified in subdivision (a) for the purposes
63     specified in subdivision (a).
                                                                        26915. (a) Commencing January 1, 2018, a A firearms
                                                                        dealer may shall require any agent or employee who
       (b) (c) The return to its owner of any large-capacity            handles, sells, or delivers firearms to obtain and provide to
       magazine by a person specified in subdivision (a).               the dealer a certificate of eligibility from the Department of
                                                                        Justice pursuant to Section 26710. On the application for
       SEC. 6.8. Section 32435 of the Penal Code is amended             the certificate, the agent or employee shall provide the
       to read:                                                         name and California firearms dealer number of the firearms
       32435. Section 32310 does not apply to any of the                dealer with whom the person is employed.
       following:                                                       (b) The department shall notify the firearms dealer in the
       (a) The sale of, giving of, lending of, possession of,           event that the agent or employee who has a certificate of
       importation into this state of, or purchase of, any large-       eligibility is or becomes prohibited from possessing
       capacity magazine, to or by any entity that operates an          firearms.
       armored vehicle business pursuant to the laws of this            (c) If the local jurisdiction requires a background check of
       state.                                                           the agents or employees of a firearms dealer, the agent or
       (b) The lending of large-capacity magazines by an entity         employee shall obtain a certificate of eligibility pursuant to
       specified in subdivision (a) to its authorized employees,        subdivision (a).
       while in the course and scope of employment for purposes         (d) (1) Nothing in this section shall be construed to
       that pertain to the entity’s armored vehicle business.           preclude a local jurisdiction from conducting an additional
       (c) The possession of any large-capacity magazines by the        background check pursuant to Section 11105. The local
       employees of an entity specified in subdivision (a) for          jurisdiction may not charge a fee for the additional criminal
       purposes that pertain to the entity’s armored vehicle            history check.
       business.                                                        (2) Nothing in this section shall be construed to preclude
       (c) (d) The return of those large-capacity magazines to          a local jurisdiction from prohibiting employment based on
       the entity specified in subdivision (a) by those employees       criminal history that does not appear as part of obtaining a
       specified in subdivision (b).                                    certificate of eligibility.
       SEC. 6.9. Section 32450 of the Penal Code is amended             (e) The licensee shall prohibit any agent who the licensee
       to read:                                                         knows or reasonably should know is within a class of
                                                                        persons prohibited from possessing firearms pursuant to
       32450. Section 32310 does not apply to the purchase              Chapter 2 (commencing with Section 29800) or Chapter 3
       or possession of a large-capacity magazine by the holder of      (commencing with Section 29900) of Division 9 of this
       a special weapons permit issued pursuant to Section 31000,       title, or Section 8100 or 8103 of the Welfare and
       32650, or 33300, or pursuant to Article 3 (commencing            Institutions Code, from coming into contact with any
       with Section 18900) of Chapter 1 of Division 5 of Title 2,       firearm that is not secured and from accessing any key,
       or pursuant to Article 4 (commencing with Section 32700)         combination, code, or other means to open any of the
       of Chapter 6 of this division, for any of the following          locking devices described in subdivision (g).
       purposes:
                                                                        (f) Nothing in this section shall be construed as preventing
       (a) For use solely as a prop for a motion picture, television,   a local government from enacting an ordinance imposing
       or video production.                                             additional conditions on licensees with regard to agents or
       (b) For export pursuant to federal regulations.                  employees.
       (c) For resale to law enforcement agencies, government           (g) For purposes of this article, “secured” means a firearm
       agencies, or the military, pursuant to applicable federal        that is made inoperable in one or more of the following
       regulations.                                                     ways:
       SEC. 7. Firearms Dealers.                                        (1) The firearm is inoperable because it is secured by a
                                                                        firearm safety device listed on the department’s roster of
       SEC. 7.1. Section 26885 of the Penal Code is amended             approved firearm safety devices pursuant to subdivision (d)
       to read:                                                         of Section 23655.
       26885. (a) Except as provided in subdivisions (b) and            (2) The firearm is stored in a locked gun safe or long-gun
       (c) of Section 26805, all firearms that are in the inventory     safe that meets the standards for department-approved
       of a licensee shall be kept within the licensed location.        gun safes set forth in Section 23650.
       (b) Within 48 hours of discovery, a licensee shall report        (3) The firearm is stored in a distinct locked room or area
       the loss or theft of any of the following items to the           in the building that is used to store firearms, which can
       appropriate law enforcement agency in the city, county, or       only be unlocked by a key, a combination, or similar means.
       city and county where the licensee’s business premises are       (4) The firearm is secured with a hardened steel rod or
       located:                                                         cable that is at least one-eighth of an inch in diameter
       (1) Any firearm or ammunition that is merchandise of the         through the trigger guard of the firearm. The steel rod or
       licensee.                                                        cable shall be secured with a hardened steel lock that has
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a shackle. The lock and shackle shall be protected or           knows or has cause to believe is not the actual purchaser
shielded from the use of a boltcutter and the rod or cable      or transferee of the ammunition, with knowledge or cause
shall be anchored in a manner that prevents the removal of      to believe that the ammunition is to be subsequently sold
the firearm from the premises.                                  or transferred to a person who is prohibited from owning,
SEC. 8. Sales of Ammunition.                                    possessing, or having under custody or control any
                                                                ammunition or reloaded ammunition pursuant to
SEC. 8.1. Section 16150 of the Penal Code is amended            subdivision (a) or (b) of Section 30305, is guilty of a
to read:                                                        misdemeanor, punishable by imprisonment in a county jail
16150. (a) As used in Section 30300, “ammunition”               not exceeding one year, or a fine not exceeding one               63
means handgun ammunition as defined in Section 16650.           thousand dollars ($1,000), or by both that fine and
As used in this part, except in subdivision (a) of Section      imprisonment.
30305 and in Section 30306, “ammunition” means one              (b) (c) The provisions of this section are cumulative and
or more loaded cartridges consisting of a primed case,          shall not be construed as restricting the application of any
propellant, and with one or more projectiles. “Ammunition”      other law. However, an act or omission punishable in
does not include blanks.                                        different ways by this section and another provision of law
(b) As used in subdivision (a) of Section 30305 and in          shall not be punished under more than one provision.
Section 30306, “ammunition” includes, but is not limited        SEC. 8.6. Section 30312 of the Penal Code is amended
to, any bullet, cartridge, magazine, clip, speed loader,        to read:
autoloader, or projectile capable of being fired from a
firearm with a deadly consequence. “Ammunition” does            30312. (a) Commencing February 1, 2011, the (1)
not include blanks.                                             Commencing January 1, 2018, the sale of ammunition by
                                                                any party shall be conducted by or processed through a
SEC. 8.2. Section 16151 is added to the Penal Code, to          licensed ammunition vendor.
read:
                                                                (2) When neither party to an ammunition sale is a licensed
16151. (a) As used in this part, commencing January 1,          ammunition vendor, the seller shall deliver the ammunition
2018, “ammunition vendor” means any person, firm,               to a vendor to process the transaction. The ammunition
corporation, or other business enterprise that holds a          vendor shall then promptly and properly deliver the
current ammunition vendor license issued pursuant to            ammunition to the purchaser, if the sale is not prohibited,
Section 30385.                                                  as if the ammunition were the vendor’s own merchandise.
(b) Commencing January 1, 2018, a firearms dealer               If the ammunition vendor cannot legally deliver the
licensed pursuant to Sections 26700 to 26915, inclusive,        ammunition to the purchaser, the vendor shall forthwith
shall automatically be deemed a licensed ammunition             return the ammunition to the seller. The ammunition
vendor, provided the dealer complies with the requirements      vendor may charge the purchaser an administrative fee to
of Articles 2 (commencing with Section 30300) and 3             process the transaction, in an amount to be set by the
(commencing with Section 30342) of Chapter 1 of Division        Department of Justice, in addition to any applicable fees
10 of Title 4.                                                  that may be charged pursuant to the provisions of this title.
SEC. 8.3. Section 16662 of the Penal Code is repealed.          (b) Commencing January 1, 2018, the sale, delivery or
16662. As used in this part, “handgun ammunition                transfer of ownership of handgun ammunition by any party
vendor” means any person, firm, corporation, dealer, or         may only occur in a face-to-face transaction with the seller,
any other business enterprise that is engaged in the retail     deliverer, or transferor being provided bona fide evidence
sale of any handgun ammunition, or that holds itself out as     of identity from the purchaser or other transferee, provided,
engaged in the business of selling any handgun ammunition.      however, that ammunition may be purchased or acquired
                                                                over the Internet or through other means of remote ordering
SEC. 8.4. Section 17315 of the Penal Code is amended            if a licensed ammunition vendor initially receives the
to read:                                                        ammunition and processes the transaction in compliance
17315. As used in Article 3 (commencing with Section            with this section and Article 3 (commencing with Section
30345) Articles 2 through 5 of Chapter 1 of Division 10 of      30342) of Chapter 1 of Division 10 of Title 4 of this part.
Title 4, “vendor” means a an handgun ammunition vendor.         (b) (c) Subdivision Subdivisions (a) and (b) shall not
SEC. 8.5. Section 30306 of the Penal Code is amended            apply to or affect the sale, delivery, or transfer of handgun
to read:                                                        ammunition to any of the following:
30306. (a) Any person, corporation, or firm, or other           (1) An authorized law enforcement representative of a
business enterprise who supplies, delivers, sells, or gives     city, county, city and county, or state or federal government,
possession or control of, any ammunition to any person          if the sale, delivery, or transfer is for exclusive use by that
who he or she knows or using reasonable care should know        government agency and, prior to the sale, delivery, or
is prohibited from owning, possessing, or having under          transfer of the handgun ammunition, written authorization
custody or control, any ammunition or reloaded ammunition       from the head of the agency employing the purchaser or
pursuant to subdivision (a) or (b) of Section 30305, is         transferee is obtained, identifying the employee as an
guilty of a misdemeanor, punishable by imprisonment in a        individual authorized to conduct the transaction, and
county jail not exceeding one year, or a fine not exceeding     authorizing the transaction for the exclusive use of the
one thousand dollars ($1,000), or by both that fine and         agency employing the individual.
imprisonment.                                                   (2) A sworn peace officer, as defined in Chapter 4.5
(b) Any person, corporation, firm, or other business            (commencing with Section 830) of Title 3 of Part 2, or
enterprise who supplies, delivers, sells, or gives possession   sworn federal law enforcement officer, who is authorized to
or control of, any ammunition to any person whom the            carry a firearm in the course and scope of the officer’s
person, corporation, firm, or other business enterprise         duties.

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       (3) An importer or manufacturer of handgun ammunition             eligibility issued by the Department of Justice pursuant to
       or firearms who is licensed to engage in business pursuant        Section 26710.
       to Chapter 44 (commencing with Section 921) of Title 18           (6) A person who acquired the ammunition from a spouse,
       of the United States Code and the regulations issued              registered domestic partner, or immediate family member
       pursuant thereto.                                                 as defined in Section 16720.
       (4) A person who is on the centralized list of exempted           (c) A violation of this section is an infraction for any first
       federal firearms licensees maintained by the Department           time offense, and either an infraction or a misdemeanor for
       of Justice pursuant to Article 6 (commencing with                 any subsequent offense.
63     Section 28450) of Chapter 6 of Division 6 of this title.
                                                                         SEC. 8.8. The heading of Article 3 (commencing with
       (5) A person whose licensed premises are outside this             Section 30342) of Chapter 1 of Division 10 of Title 4 of
       state and who is licensed as a dealer or collector of firearms    Part 6 of the Penal Code is amended to read:
       pursuant to Chapter 44 (commencing with Section 921) of
       Title 18 of the United States Code and the regulations                     Article 3. Handgun Ammunition Vendors
       issued pursuant thereto.                                          SEC. 8.9. Section 30342 is added to the Penal Code,
       (6) A person who is licensed as a collector of firearms           immediately preceding Section 30345, to read:
       pursuant to Chapter 44 (commencing with Section 921) of           30342. (a) Commencing January 1, 2018, a valid
       Title 18 of the United States Code and the regulations            ammunition vendor license shall be required for any
       issued pursuant thereto, whose licensed premises are              person, firm, corporation, or other business enterprise to
       within this state, and who has a current certificate of           sell more than 500 rounds of ammunition in any 30-day
       eligibility issued by the Department of Justice pursuant to       period.
       Section 26710.
                                                                         (b) A violation of this section is a misdemeanor.
       (7) A handgun An ammunition vendor.
                                                                         SEC. 8.10. Section 30347 of the Penal Code is amended
       (8) A consultant-evaluator.                                       to read:
       (9) A person who purchases or receives ammunition at a            30347. (a) An ammunition vendor shall require any
       target facility holding a business or other regulatory license,   agent or employee who handles, sells, delivers, or has
       provided that the ammunition is at all times kept within          under his or her custody or control any ammunition, to
       the facility’s premises.                                          obtain and provide to the vendor a certificate of eligibility
       (10) A person who purchases or receives ammunition from           from the Department of Justice issued pursuant to Section
       a spouse, registered domestic partner, or immediate family        26710. On the application for the certificate, the agent or
       member as defined in Section 16720.                               employee shall provide the name and address of the
       (c) (d) A violation of this section is a misdemeanor.             ammunition vendor with whom the person is employed, or
                                                                         the name and California firearms dealer number of the
       SEC. 8.7. Section 30314 is added to the Penal Code, to            ammunition vendor if applicable.
       read:
                                                                         (b) The department shall notify the ammunition vendor in
       30314. (a) Commencing January 1, 2018, a resident of              the event that the agent or employee who has a certificate
       this state shall not bring or transport into this state any       of eligibility is or becomes prohibited from possessing
       ammunition that he or she purchased or otherwise obtained         ammunition under subdivision (a) of Section 30305 or
       from outside of this state unless he or she first has that        federal law.
       ammunition delivered to a licensed ammunition vendor for
       delivery to that resident pursuant to the procedures set          (c) A An ammunition vendor shall not permit any agent or
       forth in Section 30312.                                           employee who the vendor knows or reasonably should know
                                                                         is a person described in Chapter 2 (commencing with
       (b) Subdivision (a) does not apply to any of the following:       Section 29800) or Chapter 3 (commencing with
       (1) An ammunition vendor.                                         Section 29900) of Division 9 of this title or Section 8100
                                                                         or 8103 of the Welfare and Institutions Code to handle,
       (2) A sworn peace officer, as defined in Chapter 4.5
                                                                         sell, or deliver, or have under his or her custody or control,
       (commencing with Section 830) of Title 3 of Part 2, or
                                                                         any handgun ammunition in the course and scope of
       sworn federal law enforcement officer, who is authorized to
       carry a firearm in the course and scope of the officer’s          employment.
       duties.                                                           SEC. 8.11. Section 30348 is added to the Penal Code,
       (3) An importer or manufacturer of ammunition or firearms         to read:
       who is licensed to engage in business pursuant to Chapter         30348. (a) Except as provided in subdivision (b), the
       44 (commencing with Section 921) of Title 18 of the               sale of ammunition by a licensed vendor shall be conducted
       United States Code and the regulations issued pursuant            at the location specified in the license.
       thereto.                                                          (b) A vendor may sell ammunition at a gun show or event
       (4) A person who is on the centralized list of exempted           if the gun show or event is not conducted from any
       federal firearms licensees maintained by the Department           motorized or towed vehicle.
       of Justice pursuant to Article 6 (commencing with                 (c) For purposes of this section, “gun show or event”
       Section 28450) of Chapter 6 of Division 6.                        means a function sponsored by any national, state, or local
       (5) A person who is licensed as a collector of firearms           organization, devoted to the collection, competitive use, or
       pursuant to Chapter 44 (commencing with Section 921) of           other sporting use of firearms, or an organization or
       Title 18 of the United States Code and the regulations            association that sponsors functions devoted to the
       issued pursuant thereto, whose licensed premises are              collection, competitive use, or other sporting use of
       within this state, and who has a current certificate of           firearms in the community.
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(d) Sales of ammunition at a gun show or event shall              and the ammunition is delivered to the person in the same
comply with all applicable laws including Sections 30347,         transaction as the firearm.
30350, 30352, and 30360.                                          (d) Commencing July 1, 2019, the ammunition vendor
SEC. 8.12. Section 30350 of the Penal Code is amended             shall verify with the department, in a manner prescribed by
to read:                                                          the department, that the person is authorized to purchase
30350. A An ammunition vendor shall not sell or                   ammunition by comparing the person’s ammunition
otherwise transfer ownership of, offer for sale or otherwise      purchase authorization number to the centralized list of
offer to transfer ownership of, or display for sale or display    authorized ammunition purchasers. If the person is not
for transfer of ownership of any handgun ammunition in a          listed as an authorized ammunition purchaser, the vendor          63
manner that allows that ammunition to be accessible to a          shall deny the sale or transfer.
purchaser or transferee without the assistance of the             (b) (e) Subdivision Subdivisions (a) and (d) shall not
vendor or an employee of the vendor.                              apply to or affect sales or other transfers of ownership of
SEC. 8.13. Section 30352 of the Penal Code is amended             handgun ammunition by handgun ammunition vendors to
to read:                                                          any of the following, if properly identified:
30352. (a) Commencing February 1, 2011, a July 1,                 (1) A person licensed pursuant to Sections 26700 to
2019, an ammunition vendor shall not sell or otherwise            26915, inclusive.
transfer ownership of any handgun ammunition without, at          (2) (1) A handgun An ammunition vendor.
the time of delivery, legibly recording the following             (3) (2) A person who is on the centralized list of exempted
information on a form to be prescribed by the Department          federal firearms licensees maintained by the department
of Justice:                                                       pursuant to Article 6 (commencing with Section 28450) of
(1) The date of the sale or other transaction transfer.           Chapter 6 of Division 6 of this title.
(2) The purchaser’s or transferee’s driver’s license or other     (4) (3) A target facility that holds a business or regulatory
identification number and the state in which it was issued.       license person who purchases or receives ammunition at a
(3) The brand, type, and amount of ammunition sold or             target facility holding a business or other regulatory license,
otherwise transferred.                                            provided that the ammunition is at all times kept within
                                                                  the facility’s premises.
(4) The purchaser’s or transferee’s full name and signature.
                                                                  (5) (4) A gunsmith.
(5) The name of the salesperson who processed the sale or
other transaction.                                                (6) (5) A wholesaler.
(6) The right thumbprint of the purchaser or transferee on        (7) (6) A manufacturer or importer of firearms or
the above form.                                                   ammunition licensed pursuant to Chapter 44 (commencing
                                                                  with Section 921) of Title 18 of the United States Code,
(7) (6) The purchaser’s or transferee’s full residential          and the regulations issued pursuant thereto.
address and telephone number.
                                                                  (8) (7) An authorized law enforcement representative of a
(8) (7) The purchaser’s or transferee’s date of birth.            city, county, city and county, or state or federal government,
(b) Commencing July 1, 2019, an ammunition vendor                 if the sale or other transfer of ownership is for exclusive
shall electronically submit to the department the                 use by that government agency, and, prior to the sale,
information required by subdivision (a) for all sales and         delivery, or transfer of the handgun ammunition, written
transfers of ownership of ammunition. The department              authorization from the head of the agency authorizing the
shall retain this information in a database to be known as        transaction is presented to the person from whom the
the Ammunition Purchase Records File. This information            purchase, delivery, or transfer is being made. Proper
shall remain confidential and may be used by the                  written authorization is defined as verifiable written
department and those entities specified in, and pursuant          certification from the head of the agency by which the
to, subdivision (b) or (c) of Section 11105, through the          purchaser, transferee, or person otherwise acquiring
California Law Enforcement Telecommunications System,             ownership is employed, identifying the employee as an
only for law enforcement purposes. The ammunition vendor          individual authorized to conduct the transaction, and
shall not use, sell, disclose, or share such information for      authorizing the transaction for the exclusive use of the
any other purpose other than the submission required by           agency by which that individual is employed.
this subdivision without the express written consent of the       (8) A properly identified sworn peace officer, as defined in
purchaser or transferee.                                          Chapter 4.5 (commencing with Section 830) of Title 3 of
(c) Commencing on July 1, 2019, only those persons                Part 2, or properly identified sworn federal law enforcement
listed in this subdivision, or those persons or entities listed   officer, who is authorized to carry a firearm in the course
in subdivision (e), shall be authorized to purchase               and scope of the officer’s duties.
ammunition. Prior to delivering any ammunition, an                (f) (1) Proper identification is defined as verifiable written
ammunition vendor shall require bona fide evidence of             certification from the head of the agency by which the
identity to verify that the person who is receiving delivery      purchaser or transferee is employed, identifying the
of the ammunition is a person or entity listed in subdivision     purchaser or transferee as a full-time paid peace officer
(e) or one of the following:                                      who is authorized to carry a firearm in the course and scope
(1) A person authorized to purchase ammunition pursuant           of the officer’s duties.
to Section 30370.                                                 (2) The certification shall be delivered to the vendor at the
(2) A person who was approved by the department to                time of purchase or transfer and the purchaser or transferee
receive a firearm from the ammunition vendor, pursuant to         shall provide bona fide evidence of identity to verify that he
Section 28220, if that vendor is a licensed firearms dealer,      or she is the person authorized in the certification.

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       (3) The vendor shall keep the certification with the record     and Institutions Code, and if authorized, the National
       of sale and submit the certification to the department.         Instant Criminal Background Check System, as described
       (g) The department is authorized to adopt regulations to        in Section 922(t) of Title 18 of the United States Code, in
       implement the provisions of this section.                       order to determine if the applicant is prohibited from
                                                                       possessing or acquiring ammunition under subdivision (a)
       SEC. 8.14. Section 30363 is added to the Penal Code,            of Section 30305 or federal law.
       to read:
                                                                       (2) The applicant shall be approved or denied within 30
       30363. Within 48 hours of discovery, an ammunition              days of the date of the submission of the application to the
63     vendor shall report the loss or theft of any of the following
                                                                       department. If the application is denied, the department
       items to the appropriate law enforcement agency in the
       city, county, or city and county where the vendor’s business    shall state the reasons for doing so and provide the
       premises are located:                                           applicant an appeal process to challenge that denial.
       (1) Any ammunition that is merchandise of the vendor.           (3) If the department is unable to ascertain the final
                                                                       disposition of the application within 30 days of the
       (2) Any ammunition that the vendor takes possession of          applicant’s submission, the department shall grant
       pursuant to Section 30312.                                      authorization to the applicant.
       (3) Any ammunition kept at the vendor’s place of business.      (4) The ammunition purchase authorization number shall
       SEC. 8.15. Article 4 (commencing with Section 30370)            be the same as the number on the document presented by
       is added to Chapter 1 of Division 10 of Title 4 of Part 6 of    the person as bona fide evidence of identity.
       the Penal Code, to read:                                        (f) The department shall renew a person’s ammunition
             Article 4. Ammunition Purchase Authorizations             purchase authorization before its expiration, provided that
       30370. (a) (1) Commencing on January 1, 2019, any               the department determines that the person is not prohibited
       person who is 18 years of age or older may apply to the         from acquiring or possessing ammunition under subdivision
       Department of Justice for an ammunition purchase                (a) of Section 30305 or federal law, and provided the
       authorization.                                                  applicant timely pays the renewal fee set forth in
                                                                       subdivision (g).
       (2) The ammunition purchase authorization may be used
       by the authorized person to purchase or otherwise seek the      (g) The department may charge a reasonable fee not to
       transfer of ownership of ammunition from an ammunition          exceed fifty dollars ($50) per person for the issuance of an
       vendor, as that term is defined in Section 16151, and           ammunition purchase authorization or the issuance of a
       shall have no other force or effect.                            renewal authorization, however, the department shall not
       (3) The ammunition purchase authorization shall be valid        set these fees any higher than necessary to recover the
       for four years from July 1, 2019, or the date of issuance,      reasonable, estimated costs to fund the ammunition
       whichever is later, unless it is revoked by the department      authorization program provided for in this section and
       pursuant to subdivision (b).                                    Section 30352, including the enforcement of this program
                                                                       and maintenance of any data systems associated with this
       (b) The ammunition purchase authorization shall be              program.
       promptly revoked by the department upon the occurrence
       of any event which would have disqualified the holder from      (h) The Ammunition Safety and Enforcement Special
       being issued the ammunition purchase authorization              Fund is hereby created within the State Treasury. All fees
       pursuant to this section. If an authorization is revoked, the   received pursuant to this section shall be deposited into
       department shall upon the written request of the holder         the Ammunition Safety and Enforcement Special Fund of
       state the reasons for doing so and provide the holder an        the General Fund, and, notwithstanding Section 13340 of
       appeal process to challenge that revocation.                    the Government Code, are continuously appropriated for
       (c) The department shall create and maintain an internal        purposes of implementing, operating and enforcing the
       centralized list of all persons who are authorized to           ammunition authorization program provided for in this
       purchase ammunition and shall promptly remove from the          section and Section 30352, and for repaying the start-up
       list any persons whose authorization was revoked by the         loan provided for in Section 30371.
       department pursuant to this section. The department shall       (i) The department shall annually review and may adjust
       provide access to the list by ammunition vendors for            all fees specified in subdivision (g) for inflation.
       purposes of conducting ammunition sales or other
       transfers, and shall provide access to the list by law          (j) The department is authorized to adopt regulations to
       enforcement agencies for law enforcement purposes.              implement the provisions of this section.
       (d) The department shall issue an ammunition purchase           30371. (a) There is hereby appropriated twenty-five
       authorization to the applicant if all of the following          million dollars ($25,000,000) from the General Fund as a
       conditions are met:                                             loan for the start-up costs of implementing, operating and
                                                                       enforcing the provisions of the ammunition authorization
       (1) The applicant is 18 years of age or older.
                                                                       program provided for in Sections 30352 and 30370.
       (2) The applicant is not prohibited from acquiring or
       possessing ammunition under subdivision (a) of                  (b) For purposes of repaying the loan, the Controller shall,
       Section 30305 or federal law.                                   after disbursing moneys necessary to implement, operate
                                                                       and enforce the ammunition authorization program
       (3) The applicant pays the fees set forth in subdivision (g).   provided for in Sections 30352 and 30370, transfer all
       (e) (1) Upon receipt of an initial or renewal application,      proceeds from fees received by the Ammunition Safety and
       the department shall examine its records, and the records       Enforcement Special Fund up to the amount of the loan
       it is authorized to request from the State Department of        provided by this section, including interest at the pooled
       State Hospitals, pursuant to Section 8104 of the Welfare        money investment account rate, to the General Fund.
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SEC. 8.16. Article 5 (commencing with Section 30385)             provided access to the registry for law enforcement
is added to Chapter 1 of Division 10 of Title 4 of Part 6 of     purposes.
the Penal Code, to read:                                         (c) An ammunition vendor license is subject to forfeiture
          Article 5. Ammunition Vendor Licenses                  for a breach of any of the prohibitions and requirements of
30385. (a) The Department of Justice is authorized to            Article 2 (commencing with Section 30300) or Article 3
issue ammunition vendor licenses pursuant to this article.       (commencing with Section 30342).
The department shall, commencing July 1, 2017,                   SEC. 9. Nothing in this Act shall preclude or preempt a
commence accepting applications for ammunition vendor            local ordinance that imposes additional penalties or            63
licenses. If an application is denied, the department shall      requirements in regard to the sale or transfer of ammunition.
inform the applicant of the reason for denial in writing.        SEC. 10. Securing Firearms From Prohibited Persons.
(b) The ammunition vendor license shall be issued in a           SEC. 10.1. Section 1524 of the Penal Code is amended
form prescribed by the department and shall be valid for a       to read:
period of one year. The department may adopt regulations
to administer the application and enforcement provisions         1524. (a) A search warrant may be issued upon any of
of this article. The license shall allow the licensee to sell    the following grounds:
ammunition at the location specified in the license or at a      (1) When the property was stolen or embezzled.
gun show or event as set forth in Section 30348.
                                                                 (2) When the property or things were used as the means of
(c) (1) In the case of an entity other than a natural person,    committing a felony.
the department shall issue the license to the entity, but
shall require a responsible person to pass the background        (3) When the property or things are in the possession of
check pursuant to Section 30395.                                 any person with the intent to use them as a means of
                                                                 committing a public offense, or in the possession of
(2) For purposes of this article, “responsible person”           another to whom he or she may have delivered them for the
means a person having the power to direct the management,        purpose of concealing them or preventing them from being
policies, and practices of the entity as it pertains to          discovered.
ammunition.
                                                                 (4) When the property or things to be seized consist of an
(d) Commencing January 1, 2018, a firearms dealer                item or constitute evidence that tends to show a felony has
licensed pursuant to Sections 26700 to 26915, inclusive,         been committed, or tends to show that a particular person
shall automatically be deemed a licensed ammunition              has committed a felony.
vendor, provided the dealer complies with the requirements
of Article 2 (commencing with Section 30300) and Article         (5) When the property or things to be seized consist of
3 (commencing with Section 30342).                               evidence that tends to show that sexual exploitation of a
                                                                 child, in violation of Section 311.3, or possession of
30390. (a) The Department of Justice may charge                  matter depicting sexual conduct of a person under 18
ammunition vendor license applicants a reasonable fee            years of age, in violation of Section 311.11, has occurred
sufficient to reimburse the department for the reasonable,       or is occurring.
estimated costs of administering the license program,
including the enforcement of this program and maintenance        (6) When there is a warrant to arrest a person.
of the registry of ammunition vendors.                           (7) When a provider of electronic communication service
(b) The fees received by the department pursuant to this         or remote computing service has records or evidence, as
article shall be deposited in the Ammunition Vendors             specified in Section 1524.3, showing that property was
Special Account, which is hereby created. Notwithstanding        stolen or embezzled constituting a misdemeanor, or that
Section 13340 of the Government Code, the revenue in             property or things are in the possession of any person with
the fund is continuously appropriated for use by the             the intent to use them as a means of committing a
department for the purpose of implementing, administering        misdemeanor public offense, or in the possession of
and enforcing the provisions of this article, and for            another to whom he or she may have delivered them for the
collecting and maintaining information submitted pursuant        purpose of concealing them or preventing their discovery.
to Section 30352.                                                (8) When the property or things to be seized include an
(c) The revenue in the Firearms Safety and Enforcement           item or evidence that tends to show a violation of
Special Fund shall also be available upon appropriation to       Section 3700.5 of the Labor Code, or tends to show that a
the department for the purpose of implementing and               particular person has violated Section 3700.5 of the Labor
enforcing the provisions of this article.                        Code.
30395. (a) The Department of Justice is authorized to            (9) When the property or things to be seized include a
issue ammunition vendor licenses to applicants who the           firearm or other deadly weapon at the scene of, or at the
department has determined, either as an individual or a          premises occupied or under the control of the person
responsible person, are not prohibited from possessing,          arrested in connection with, a domestic violence incident
receiving, owning, or purchasing ammunition under                involving a threat to human life or a physical assault as
subdivision (a) of Section 30305 or federal law, and who         provided in Section 18250. This section does not affect
provide a copy of any regulatory or business license             warrantless      seizures     otherwise     authorized     by
required by local government, a valid seller’s permit issued     Section 18250.
by the State Board of Equalization, a federal firearms           (10) When the property or things to be seized include a
license if the person is federally licensed, and a certificate   firearm or other deadly weapon that is owned by, or in the
of eligibility issued by the department.                         possession of, or in the custody or control of, a person
(b) The department shall keep a registry of all licensed         described in subdivision (a) of Section 8102 of the Welfare
ammunition vendors. Law enforcement agencies shall be            and Institutions Code.

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       (11) When the property or things to be seized include a         (e), or (f) of Section 655 of the Harbors and Navigation
       firearm that is owned by, or in the possession of, or in the    Code.
       custody or control of, a person who is subject to the           (ii) The person from whom the sample is being sought has
       prohibitions regarding firearms pursuant to Section 6389        refused an officer’s request to submit to, or has failed to
       of the Family Code, if a prohibited firearm is possessed,       complete, a blood test as required by Section 655.1 of the
       owned, in the custody of, or controlled by a person against     Harbors and Navigation Code.
       whom a protective order has been issued pursuant to
       Section 6218 of the Family Code, the person has been            (iii) The sample will be drawn from the person in a
63     lawfully served with that order, and the person has failed to   reasonable, medically approved manner.
       relinquish the firearm as required by law.                      (B) This paragraph is not intended to abrogate a court’s
       (12) When the information to be received from the use of        mandate to determine the propriety of the issuance of a
       a tracking device constitutes evidence that tends to show       search warrant on a case-by-case basis.
       that either a felony, a misdemeanor violation of the Fish       (b) The property, things, person, or persons described in
       and Game Code, or a misdemeanor violation of the Public         subdivision (a) may be taken on the warrant from any
       Resources Code has been committed or is being committed,        place, or from any person in whose possession the property
       tends to show that a particular person has committed a          or things may be.
       felony, a misdemeanor violation of the Fish and Game
       Code, or a misdemeanor violation of the Public Resources        (c) Notwithstanding subdivision (a) or (b), no search
       Code, or is committing a felony, a misdemeanor violation        warrant shall issue for any documentary evidence in the
       of the Fish and Game Code, or a misdemeanor violation of        possession or under the control of any person who is a
       the Public Resources Code, or will assist in locating an        lawyer as defined in Section 950 of the Evidence Code, a
       individual who has committed or is committing a felony, a       physician as defined in Section 990 of the Evidence Code,
       misdemeanor violation of the Fish and Game Code, or a           a psychotherapist as defined in Section 1010 of the
       misdemeanor violation of the Public Resources Code. A           Evidence Code, or a member of the clergy as defined in
       tracking device search warrant issued pursuant to this          Section 1030 of the Evidence Code, and who is not
       paragraph shall be executed in a manner meeting the             reasonably suspected of engaging or having engaged in
       requirements specified in subdivision (b) of Section 1534.      criminal activity related to the documentary evidence for
       (13) When a sample of the blood of a person constitutes         which a warrant is requested unless the following procedure
       evidence that tends to show a violation of Section 23140,       has been complied with:
       23152, or 23153 of the Vehicle Code and the person from         (1) At the time of the issuance of the warrant, the court
       whom the sample is being sought has refused an officer’s        shall appoint a special master in accordance with
       request to submit to, or has failed to complete, a blood test   subdivision (d) to accompany the person who will serve the
       as required by Section 23612 of the Vehicle Code, and the       warrant. Upon service of the warrant, the special master
       sample will be drawn from the person in a reasonable,           shall inform the party served of the specific items being
       medically approved manner. This paragraph is not intended       sought and that the party shall have the opportunity to
       to abrogate a court’s mandate to determine the propriety of     provide the items requested. If the party, in the judgment
       the issuance of a search warrant on a case-by-case basis.       of the special master, fails to provide the items requested,
       (14) Beginning January 1, 2016, the property or things to       the special master shall conduct a search for the items in
       be seized are firearms or ammunition or both that are           the areas indicated in the search warrant.
       owned by, in the possession of, or in the custody or control    (2) (A) If the party who has been served states that an
       of a person who is the subject of a gun violence restraining    item or items should not be disclosed, they shall be sealed
       order that has been issued pursuant to Division 3.2             by the special master and taken to court for a hearing.
       (commencing with Section 18100) of Title 2 of Part 6, if a
                                                                       (B) At the hearing, the party searched shall be entitled to
       prohibited firearm or ammunition or both is possessed,
                                                                       raise any issues that may be raised pursuant to
       owned, in the custody of, or controlled by a person against
       whom a gun violence restraining order has been issued,          Section 1538.5 as well as a claim that the item or items
       the person has been lawfully served with that order, and        are privileged, as provided by law. The hearing shall be
       the person has failed to relinquish the firearm as required     held in the superior court. The court shall provide sufficient
       by law.                                                         time for the parties to obtain counsel and make motions or
                                                                       present evidence. The hearing shall be held within three
       (15) Beginning January 1, 2018, the property or things to       days of the service of the warrant unless the court makes a
       be seized include a firearm that is owned by, or in the         finding that the expedited hearing is impracticable. In that
       possession of, or in the custody or control of, a person who    case, the matter shall be heard at the earliest possible
       is subject to the prohibitions regarding firearms pursuant      time.
       to Section 29800 or 29805, and the court has made a
       finding pursuant to paragraph (3) of subdivision (c) of         (C) If an item or items are taken to court for a hearing, any
       Section 29810 that the person has failed to relinquish the      limitations of time prescribed in Chapter 2 (commencing
       firearm as required by law.                                     with Section 799) of Title 3 of Part 2 shall be tolled from
                                                                       the time of the seizure until the final conclusion of the
       (15) (16) When the property or things to be seized are          hearing, including any associated writ or appellate
       controlled substances or a device, contrivance, instrument,     proceedings.
       or paraphernalia used for unlawfully using or administering
       a controlled substance pursuant to the authority described      (3) The warrant shall, whenever practicable, be served
       in Section 11472 of the Health and Safety Code.                 during normal business hours. In addition, the warrant
                                                                       shall be served upon a party who appears to have possession
       (16) (17) (A) When all of the following apply:                  or control of the items sought. If, after reasonable efforts,
       (i) A sample of the blood of a person constitutes evidence      the party serving the warrant is unable to locate the person,
       that tends to show a violation of subdivision (b), (c), (d),    the special master shall seal and return to the court, for
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determination by the court, any item that appears to be          issue a warrant to search a person or property located in
privileged as provided by law.                                   another county if the person whose identifying information
(d) (1) As used in this section, a “special master” is an        was taken or used resides in the same county as the issuing
attorney who is a member in good standing of the California      court.
State Bar and who has been selected from a list of qualified     (k) This section shall not be construed to create a cause of
attorneys that is maintained by the State Bar particularly       action against any foreign or California corporation, its
for the purposes of conducting the searches described in         officers, employees, agents, or other specified persons for
this section. These attorneys shall serve without                providing location information.
compensation. A special master shall be considered a             SEC. 10.2. Section 27930 of the Penal Code is amended          63
public employee, and the governmental entity that caused         to read:
the search warrant to be issued shall be considered the
employer of the special master and the applicable public         27930. Section 27545 does not apply to deliveries,
entity, for purposes of Division 3.6 (commencing with            transfers, or returns of firearms made pursuant to any of
Section 810) of Title 1 of the Government Code, relating to      the following:
claims and actions against public entities and public            (a) Sections 18000 and 18005.
employees. In selecting the special master, the court shall
make every reasonable effort to ensure that the person           (b) Division 4 (commencing with Section 18250) of Title
selected has no relationship with any of the parties involved    2.
in the pending matter. Information obtained by the special       (c) Chapter 2 (commencing with Section 33850) of
master shall be confidential and may not be divulged             Division 11.
except in direct response to inquiry by the court.               (d) Sections 34005 and 34010.
(2) In any case in which the magistrate determines that,         (e) Section 29810.
after reasonable efforts have been made to obtain a special
master, a special master is not available and would not be       SEC. 10.3. Section 29810 of the Penal Code is amended
available within a reasonable period of time, the magistrate     to read:
may direct the party seeking the order to conduct the            29810. (a) For any person who is subject to
search in the manner described in this section in lieu of        Section 29800 or 29805, the court shall, at the time
the special master.                                              judgment is imposed, provide on a form supplied by the
(e) Any search conducted pursuant to this section by a           Department of Justice, a notice to the defendant prohibited
special master may be conducted in a manner that permits         by this chapter from owning, purchasing, receiving,
the party serving the warrant or his or her designee to          possessing, or having under custody or control, any firearm.
accompany the special master as he or she conducts his or        The notice shall inform the defendant of the prohibition
her search. However, that party or his or her designee may       regarding firearms and include a form to facilitate the
not participate in the search nor shall he or she examine        transfer of firearms. If the prohibition on owning or
any of the items being searched by the special master            possessing a firearm will expire on a date specified in the
except upon agreement of the party upon whom the warrant         court order, the form shall inform the defendant that he or
has been served.                                                 she may elect to have his or her firearm transferred to a
                                                                 firearms dealer licensed pursuant to Section 29830.
(f) As used in this section, “documentary evidence”
includes, but is not limited to, writings, documents,            (b) Failure to provide the notice described in subdivision
blueprints, drawings, photographs, computer printouts,           (a) is not a defense to a violation of this chapter.
microfilms, X-rays, files, diagrams, ledgers, books, tapes,      (c) This section shall be repealed effective January 1,
audio and video recordings, films, and papers of any type        2018.
or description.                                                  SEC. 10.4. Section 29810 is added to the Penal Code,
(g) No warrant shall issue for any item or items described       to read:
in Section 1070 of the Evidence Code.                            29810. (a) (1) Upon conviction of any offense that
(h) Notwithstanding any other law, no claim of attorney          renders a person subject to Section 29800 or
work product as described in Chapter 4 (commencing with          Section 29805, the person shall relinquish all firearms he
Section 2018.010) of Title 4 of Part 4 of the Code of Civil      or she owns, possesses, or has under his or her custody or
Procedure shall be sustained where there is probable cause       control in the manner provided in this section.
to believe that the lawyer is engaging or has engaged in         (2) The court shall, upon conviction of a defendant for an
criminal activity related to the documentary evidence for        offense described in subdivision (a), instruct the defendant
which a warrant is requested unless it is established at the     that he or she is prohibited from owning, purchasing,
hearing with respect to the documentary evidence seized          receiving, possessing, or having under his or her custody or
under the warrant that the services of the lawyer were not       control, any firearms, ammunition, and ammunition
sought or obtained to enable or aid anyone to commit or          feeding devices, including but not limited to magazines,
plan to commit a crime or a fraud.                               and shall order the defendant to relinquish all firearms in
(i) Nothing in this section is intended to limit an attorney’s   the manner provided in this section. The court shall also
ability to request an in-camera hearing pursuant to the          provide the defendant with a Prohibited Persons
holding of the Supreme Court of California in People v.          Relinquishment Form developed by the Department of
Superior Court (Laff) (2001) 25 Cal.4th 703.                     Justice.
(j) In addition to any other circumstance permitting a           (3) Using the Prohibited Persons Relinquishment Form,
magistrate to issue a warrant for a person or property in        the defendant shall name a designee and grant the
another county, when the property or things to be seized         designee power of attorney for the purpose of transferring
consist of any item or constitute evidence that tends to         or disposing of any firearms. The designee shall be either a
show a violation of Section 530.5, the magistrate may            local law enforcement agency or a consenting third party

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       who is not prohibited from possessing firearms under state      the defendant has properly complied with the requirements
       or federal law. The designee shall, within the time periods     of this section by relinquishing all firearms identified by
       specified in subdivisions (d) and (e), surrender the firearms   the probation officer’s investigation or declared by the
       to the control of a local law enforcement agency, sell the      defendant on the Prohibited Persons Relinquishment
       firearms to a licensed firearms dealer, or transfer the         Form, and by timely submitting a completed Prohibited
       firearms for storage to a firearms dealer pursuant to           Persons Relinquishment Form. The probation officer shall
       Section 29830.                                                  also report to the Department of Justice on a form to be
       (b) The Prohibited Persons Relinquishment Form shall do         developed by the department whether the Automated
63     all of the following:                                           Firearms System has been updated to indicate which
                                                                       firearms have been relinquished by the defendant.
       (1) Inform the defendant that he or she is prohibited from
       owning, purchasing, receiving, possessing, or having under      (3) Prior to final disposition or sentencing in the case, the
       his or her custody or control, any firearms, ammunition,        court shall make findings concerning whether the probation
       and ammunition feeding devices, including but not limited       officer’s report indicates that the defendant has
       to magazines, and that he or she shall relinquish all           relinquished all firearms as required, and whether the
       firearms through a designee within the time periods set         court has received a completed Prohibited Persons
       forth in subdivision (d) or (e) by surrendering the firearms    Relinquishment Form, along with the receipts described in
       to the control of a local law enforcement agency, selling       paragraph (1) of subdivision (d) or paragraph (1) of
       the firearms to a licensed firearms dealer, or transferring     subdivision (e). The court shall ensure that these findings
       the firearms for storage to a firearms dealer pursuant to       are included in the abstract of judgment. If necessary to
       Section 29830.                                                  avoid a delay in sentencing, the court may make and enter
                                                                       these findings within 14 days of sentencing.
       (2) Inform the defendant that any cohabitant of the
       defendant who owns firearms must store those firearms in        (4) If the court finds probable cause that the defendant
       accordance with Section 25135.                                  has failed to relinquish any firearms as required, the court
                                                                       shall order the search for and removal of any firearms at
       (3) Require the defendant to declare any firearms that he       any location where the judge has probable cause to believe
       or she owned, possessed, or had under his or her custody        the defendant’s firearms are located. The court shall state
       or control at the time of his or her conviction, and require    with specificity the reasons for and scope of the search and
       the defendant to describe the firearms and provide all          seizure authorized by the order.
       reasonably available information about the location of the
       firearms to enable a designee or law enforcement officials      (5) Failure by a defendant to timely file the completed
       to locate the firearms.                                         Prohibited Persons Relinquishment Form with the assigned
                                                                       probation officer shall constitute an infraction punishable
       (4) Require the defendant to name a designee, if the            by a fine not exceeding one hundred dollars ($100).
       defendant declares that he or she owned, possessed, or
       had under his or her custody or control any firearms at the     (d) The following procedures shall apply to any defendant
       time of his or her conviction, and grant the designee power     who is a prohibited person within the meaning of paragraph
       of attorney for the purpose of transferring or disposing of     (1) of subdivision (a) who does not remain in custody at
       all firearms.                                                   any time within the five-day period following conviction:
       (5) Require the designee to indicate his or her consent to      (1) The designee shall dispose of any firearms the
       the designation and, except a designee that is a law            defendant owns, possesses, or has under his or her custody
       enforcement agency, to declare under penalty of perjury         or control within five days of the conviction by surrendering
       that he or she is not prohibited from possessing any            the firearms to the control of a local law enforcement
       firearms under state or federal law.                            agency, selling the firearms to a licensed firearms dealer,
                                                                       or transferring the firearms for storage to a firearms dealer
       (6) Require the designee to state the date each firearm         pursuant to Section 29830, in accordance with the wishes
       was relinquished and the name of the party to whom it was       of the defendant. Any proceeds from the sale of the
       relinquished, and to attach receipts from the law               firearms shall become the property of the defendant. The
       enforcement officer or licensed firearms dealer who took        law enforcement officer or licensed dealer taking possession
       possession of the relinquished firearms.                        of any firearms pursuant to this subdivision shall issue a
       (7) Inform the defendant and the designee of the obligation     receipt to the designee describing the firearms and listing
       to submit the completed Prohibited Persons Relinquishment       any serial number or other identification on the firearms at
       Form to the assigned probation officer within the time          the time of surrender.
       periods specified in subdivisions (d) and (e).                  (2) If the defendant owns, possesses, or has under his or
       (c) (1) When a defendant is convicted of an offense             her custody or control any firearms to relinquish, the
       described in subdivision (a), the court shall immediately       defendant’s designee shall submit the completed
       assign the matter to a probation officer to investigate         Prohibited Persons Relinquishment Form to the assigned
       whether the Automated Firearms System or other credible         probation officer within five days following the conviction,
       information, such as a police report, reveals that the          along with the receipts described in paragraph (1) of
       defendant owns, possesses, or has under his or her custody      subdivision (d) showing the defendant’s firearms were
       or control any firearms. The assigned probation officer         surrendered to a local law enforcement agency or sold or
       shall receive the Prohibited Persons Relinquishment Form        transferred to a licensed firearms dealer.
       from the defendant or the defendant’s designee, as              (3) If the defendant does not own, possess, or have under
       applicable, and ensure that the Automated Firearms              his or her custody or control any firearms to relinquish, he
       System has been properly updated to indicate that the           or she shall, within five days following conviction, submit
       defendant has relinquished those firearms.                      the completed Prohibited Persons Relinquishment Form to
       (2) Prior to final disposition or sentencing in the case, the   the assigned probation officer, with a statement affirming
       assigned probation officer shall report to the court whether    that he or she has no firearms to be relinquished.
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(e) The following procedures shall apply to any defendant       or if the defendant provides written notice of an intent to
who is a prohibited person within the meaning of paragraph      appeal a conviction for an offense described in subdivision
(1) of subdivision (a) who is in custody at any point within    (a), or if the Automated Firearms System indicates that the
the five-day period following conviction:                       firearm was reported lost or stolen by the lawful owner. If
(1) The designee shall dispose of any firearms the              the firearm was reported lost or stolen, the firearm shall be
defendant owns, possesses, or has under his or her custody      restored to the lawful owner, as soon as its use as evidence
or control within 14 days of the conviction by surrendering     has been served, upon the lawful owner’s identification of
the firearms to the control of a local law enforcement          the weapon and proof of ownership, and after the law
agency, selling the firearms to a licensed firearms dealer,     enforcement agency has complied with Chapter 2                  63
or transferring the firearms for storage to a firearms dealer   (commencing with Section 33850) of Division 11 of Title
pursuant to Section 29830, in accordance with the wishes        4. The agency shall notify the Department of Justice of the
of the defendant. Any proceeds from the sale of the             disposition of relinquished firearms pursuant to
                                                                Section 34010.
firearms shall become the property of the defendant. The
law enforcement officer or licensed dealer taking possession    (j) A city, county, or city and county, or a state agency may
of any firearms pursuant to this subdivision shall issue a      adopt a regulation, ordinance, or resolution imposing a
receipt to the designee describing the firearms and listing     charge equal to its administrative costs relating to the
any serial number or other identification on the firearms at    seizure, impounding, storage, or release of a firearm
the time of surrender.                                          pursuant to Section 33880.
(2) If the defendant owns, possesses, or has under his or       (k) This section shall become operative on January 1,
her custody or control any firearms to relinquish, the          2018.
defendant’s designee shall submit the completed                 SEC. 11. Theft of Firearms.
Prohibited Persons Relinquishment Form to the assigned
probation officer, within 14 days following conviction,         SEC. 11.1. Section 490.2 of the Penal Code is amended
along with the receipts described in paragraph (1) of           to read:
subdivision (e) showing the defendant’s firearms were           (a) Notwithstanding Section 487 or any other provision of
surrendered to a local law enforcement agency or sold or        law defining grand theft, obtaining any property by theft
transferred to a licensed firearms dealer.                      where the value of the money, labor, real or personal
(3) If the defendant does not own, possess, or have under       property taken does not exceed nine hundred fifty dollars
his or her custody or control any firearms to relinquish, he    ($950) shall be considered petty theft and shall be
or she shall, within 14 days following conviction, submit       punished as a misdemeanor, except that such person may
the completed Prohibited Persons Relinquishment Form to         instead be punished pursuant to subdivision (h) of
the assigned probation officer, with a statement affirming      Section 1170 if that person has one or more prior
that he or she has no firearms to be relinquished.              convictions for an offense specified in clause (iv) of
                                                                subparagraph (C) of paragraph (2) of subdivision (e) of
(4) If the defendant is released from custody during the        Section 667 or for an offense requiring registration
14 days following conviction and a designee has not yet         pursuant to subdivision (c) of Section 290.
taken temporary possession of each firearm to be
relinquished as described above, the defendant shall,           (b) This section shall not be applicable to any theft that
within five days following his or her release, relinquish       may be charged as an infraction pursuant to any other
each firearm required to be relinquished pursuant to            provision of law.
paragraph (1) of subdivision (d).                               (c) This section shall not apply to theft of a firearm.
(f) For good cause, the court may shorten or enlarge the        SEC. 11.2. Section 29805 of the Penal Code is amended
time periods specified in subdivisions (d) and (e), enlarge     to read:
the time period specified in paragraph (3) of subdivision       29805. Except as provided in Section 29855 or
(c), or allow an alternative method of relinquishment.          subdivision (a) of Section 29800, any person who has
(g) The defendant shall not be subject to prosecution for       been convicted of a misdemeanor violation of Section 71,
unlawful possession of any firearms declared on the             76, 136.1, 136.5, or 140, subdivision (d) of Section 148,
Prohibited Persons Relinquishment Form if the firearms          Section 171b, paragraph (1) of subdivision (a) of
are relinquished as required.                                   Section 171c, 171d, 186.28, 240, 241, 242, 243,
                                                                243.4, 244.5, 245, 245.5, 246.3, 247, 273.5, 273.6,
(h) Any firearms that would otherwise be subject to             417, 417.6, 422, 626.9, 646.9, or 830.95, subdivision
relinquishment by a defendant under this section, but           (a) of former Section 12100, as that section read at any
which are lawfully owned by a cohabitant of the defendant,      time from when it was enacted by Section 3 of Chapter 1386
shall be exempt from relinquishment, provided the               of the Statutes of 1988 to when it was repealed by Section
defendant is notified that the cohabitant must store the        18 of Chapter 23 of the Statutes of 1994, Section 17500,
firearm in accordance with Section 25135.                       17510, 25300, 25800, 30315, or 32625, subdivision
(i) A law enforcement agency shall update the Automated         (b) or (d) of Section 26100, or Section 27510, or
Firearms System to reflect any firearms that were               Section 8100, 8101, or 8103 of the Welfare and
relinquished to the agency pursuant to this section. A law      Institutions Code, any firearm-related offense pursuant to
enforcement agency shall retain a firearm that was              Sections 871.5 and 1001.5 of the Welfare and Institutions
relinquished to the agency pursuant to this section for 30      Code, Section 490.2 if the property taken was a firearm, or
days after the date the firearm was relinquished. After the     of the conduct punished in subdivision (c) of Section 27590,
30-day period has expired, the firearm is subject to            and who, within 10 years of the conviction, owns,
destruction, retention, sale or other transfer by the agency,   purchases, receives, or has in possession or under custody
except upon the certificate of a judge of a court of record,    or control, any firearm is guilty of a public offense, which
or of the district attorney of the county, that the retention   shall be punishable by imprisonment in a county jail not
of the firearm is necessary or proper to the ends of justice,   exceeding one year or in the state prison, by a fine not

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                                                                                                    Text of Proposed Laws

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        TEXT OF PROPOSED LAWS                                           PROPOSITION 63 CONTINuED


       exceeding one thousand dollars ($1,000), or by both that         of California or the Supreme Court of the United States.
       imprisonment and fine. The court, on forms prescribed by         The reasonable fees and costs of defending the action
       the Department of Justice, shall notify the department of        shall be a charge on funds appropriated to the Department
       persons subject to this section. However, the prohibition in     of Justice, which shall be satisfied promptly.
       this section may be reduced, eliminated, or conditioned as
       provided in Section 29855 or 29860.
                                                                        PROPOSITION 64
       SEC. 12. Interim Standards.
                                                                        This initiative measure is submitted to the people in
       Notwithstanding the Administrative Procedure Act (APA),          accordance with the provisions of Section 8 of Article II of
63     and in order to facilitate the prompt implementation of the      the California Constitution.
       Safety for All Act of 2016, the California Department of
       Justice may adopt interim standards without compliance           This initiative measure amends, repeals, and adds sections
       with the procedures set forth in the APA. The interim            to the Business and Professions Code, the Food and
       standards shall remain in effect for no more than two            Agricultural Code, the Health and Safety Code, the Labor
       years, and may be earlier superseded by regulations              Code, the Revenue and Taxation Code, and the Water Code;
       adopted pursuant to the APA. “Interim standards” means           therefore, existing provisions proposed to be deleted are
       temporary standards that perform the same function as            printed in strikeout type and new provisions proposed to be
       “emergency regulations” under the Administrative                 added are printed in italic type to indicate that they are
       Procedure Act (Chapter 3.5 (commencing with                      new.
       Section 11340) of Part 1 of Division 3 of Title 2 of the
       Government Code), except that in order to provide greater        PROPOSED LAW
       opportunity for public comment on permanent regulations,         SECTION 1. Title.
       the interim standards may remain in force for two years
       rather than 180 days.                                            This measure shall be known and may be cited as the
                                                                        Control, Regulate and Tax Adult Use of Marijuana Act (“the
       SEC. 13. Amending the Measure.                                   Adult Use of Marijuana Act”).
64     This Act shall be broadly construed to accomplish its            SEC. 2. Findings and Declarations.
       purposes. The provisions of this measure may be amended
       by a vote of 55 percent of the members of each house of          A. Currently in California, nonmedical marijuana use is
       the Legislature and signed by the Governor so long as such       unregulated, untaxed, and occurs without any consumer or
       amendments are consistent with and further the intent of         environmental protections. The Control, Regulate and Tax
       this Act.                                                        Adult Use of Marijuana Act will legalize marijuana for
                                                                        those over 21 years old, protect children, and establish
       SEC. 14. Conflicting Measures.                                   laws to regulate marijuana cultivation, distribution, sale
       (a) In the event that this measure and another measure on        and use, and will protect Californians and the environment
       the same subject matter, including but not limited to the        from potential dangers. It establishes the Bureau of
       regulation of the sale or possession of firearms or              Marijuana Control within the Department of Consumer
       ammunition, shall appear on the same statewide ballot,           Affairs to regulate and license the marijuana industry.
       the provisions of the other measure or measures shall be         B. Marijuana is currently legal in our state for medical use
       deemed to be in conflict with this measure. In the event         and illegal for nonmedical use. Abuse of the medical
       that this measure receives a greater number of affirmative       marijuana system in California has long been widespread,
       votes than a measure deemed to be in conflict with it, the       but recent bipartisan legislation signed by Governor Jerry
       provisions of this measure shall prevail in their entirety,      Brown is establishing a comprehensive regulatory scheme
       and the other measure or measures shall be null and void.        for medical marijuana. The Control, Regulate and Tax
       (b) If this measure is approved by voters but superseded         Adult Use of Marijuana Act (hereafter called the Adult Use
       by law by any other conflicting measure approved by voters       of Marijuana Act) will consolidate and streamline regulation
       at the same election, and the conflicting ballot measure is      and taxation for both nonmedical and medical marijuana.
       later held invalid, this measure shall be self-executing and     C. Currently, marijuana growth and sale is not being taxed
       given full force and effect.                                     by the State of California, which means our state is missing
       SEC. 15. Severability.                                           out on hundreds of millions of dollars in potential tax
                                                                        revenue every year. The Adult Use of Marijuana Act will tax
       If any provision of this measure, or part of this measure, or    both the growth and sale of marijuana to generate hundreds
       the application of any provision or part to any person or        of millions of dollars annually. The revenues will cover the
       circumstance, is for any reason held to be invalid or            cost of administering the new law and will provide funds
       unconstitutional, the remaining provisions, or applications      to: invest in public health programs that educate youth to
       of provisions, shall not be affected, but shall remain in full   prevent and treat serious substance abuse; train local law
       force and effect, and to this end the provisions of this         enforcement to enforce the new law with a focus on DUI
       measure are severable.                                           enforcement; invest in communities to reduce the illicit
       SEC. 16. Proponent Standing.                                     market and create job opportunities; and provide for
       Notwithstanding any other provision of law, if the State,        environmental cleanup and restoration of public lands
       government agency, or any of its officials fail to defend the    damaged by illegal marijuana cultivation.
       constitutionality of this Act, following its approval by the     D. Currently, children under the age of 18 can just as
       voters, any other government employer, the proponent, or         easily purchase marijuana on the black market as adults
       in their absence, any citizen of this State shall have the       can. By legalizing marijuana, the Adult Use of Marijuana
       authority to intervene in any court action challenging the       Act will incapacitate the black market, and move marijuana
       constitutionality of this Act for the purpose of defending       purchases into a legal structure with strict safeguards
       its constitutionality, whether such action is in trial court,    against children accessing it. The Adult Use of Marijuana
       on appeal, or on discretionary review by the Supreme Court       Act prohibits the sale of nonmedical marijuana to those
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Stops Opioid Overdoses. How Do You Use It? Tammy Duckworth Becomes First Sitting U.S. Senator to Give Birth F.B.I. Raids Office of Trump’s Longtime Lawyer Michael Cohen Doctors Urge Elite Academy to Expel a Member Over Charges of Plagiarism Body Found Off California Coast May Be Teenager From S.U.V. Plunge Federal Budget Deficit Projected to Top $1 Trillion in 2020 Trump Calls Syrian Chemical Attack ‘Atrocious’ Trump Lauds Potential North Korea Summit as ‘Very Exciting for the World’ California Today California Today: Saudi Prince Tours Los Angeles and San Francisco Tony Robbins Apologizes for Saying Women Use #MeToo to Gain ‘Significance’ Syria, North Korea, ‘Mean Girls’: Your Monday Briefing Feature The Post­Campaign Campaign of Donald Trump The 10­Year Baby Window That Is the Key to the Women’s Pay Gap Loading... See next articles See previous articles U.S. Site Navigation Home Page World U.S. Politics N.Y. Business Business Opinion Opinion Tech Science Health Sports Sports Arts Arts Books Fashion & Style Fashion & Style Food Food Travel Magazine T Magazine Real Estate Obituaries Video The
Upshot Reader Center Conferences Crossword Times Insider The Learning Network Multimedia Photography Podcasts NYT Store NYT Wine Club nytEducation Times Journeys Meal Kits Subscribe Manage Account Today's Paper Tools & Services Jobs Classifieds Corrections More Site Mobile Navigation Advertisement U.S. Share How They Got Their Guns By LARRY BUCHANAN, JOSH KELLER, RICHARD A. OPPEL JR. and DANIEL VICTOR UPDATED FEB. 16, 2018 A vast majority of guns used in 19 recent mass shootings were bought legally and with a federal background check. At least nine gunmen had criminal histories or documented mental health problems that did not prevent them from obtaining their weapons. Related Article Feb. 14, 2018 Seventeen people were killed when Nikolas Cruz, 19, opened fire at his former high school in Parkland, Fla., with a Smith & Wesson M&P semiautomatic rifle. RELATED ARTICLE February 2017 Mr. Cruz legally bought the AR­15­style rifle at Sunrise Tactical Supply in Florida. 2017 Mr. Cruz was expelled from Marjory Stoneman Douglas High School for disciplinary reasons. He was described as a
“troubled kid” who enjoyed showing off his firearms and bragged about killing animals. January 2018 A person close to Mr. Cruz warned the F.B.I. that Mr. Cruz had the potential to conduct a school shooting and a “desire to kill people, erratic behavior, and disturbing social media posts.” The F.B.I. said it failed to act on the tip. Feb. 14, 2018 Mr. Cruz killed 17 people at Marjory Stoneman Douglas High School. Nov. 5, 2017 A gunman identified as Devin Patrick Kelley, 26, opened fire at a Sunday service in a rural Texas church, killing at least 26 people. The authorities said Mr. Kelley used a Ruger AR­15 variant, a knockoff of the standard service rifle carried by the American military. RELATED ARTICLE 2012 Mr. Kelley, who was in the Air Force, was convicted of assaulting his wife and breaking his infant stepson’s skull. An airman first class, he was sentenced to 12 months’ confinement and a reduction to the lowest possible rank, E­1. 2014 Mr. Kelley received a “bad conduct” discharge from the Air Force. 2016 ­ 2017 Mr. Kelley purchased two firearms — one in 2016 and one in 2017 — from two Academy Sports & Outdoors stores in San Antonio. He
passed a federal background check in both cases, according to a statement released by the store. Nov. 5, 2017 Twenty­six people were killed and at least 20 more were wounded at the church shooting in Sutherland Springs. Mr. Kelley was later found dead in his vehicle. The police recovered two additional handguns from the car. Nov. 6, 2017 The Air Force admitted that it had failed to enter Mr. Kelley’s domestic violence conviction into federal databases, which could have blocked him from buying the rifle he used in the massacre. Oct. 1, 2017 Fifty­eight people were killed and more than 500 were wounded when Stephen Paddock, from a perch high in a hotel, opened fire onto a crowd of concertgoers at an outdoor music festival in Las Vegas. Authorities recovered an arsenal of weapons — at least 23 from his hotel room — including AR­15­style rifles. RELATED ARTICLE Since 1982 Mr. Paddock started buying firearms in 1982, said Jill Snyder, a special agent in charge at the Bureau of Alcohol, Tobacco, Firearms and Explosives. Within a year of the shooting Mr. Paddock legally purchased 33 firearms from Oct. 2016 to Sept. 2017, Ms. Snyder said. Most of
those guns were rifles. Such purchases do not prompt reports to the bureau because there is no federal law requiring a seller to alert the bureau when a person buys multiple rifles. Oct. 1 Fifty­eight people were killed when Mr. Paddock fired onto the crowd of more than 22,000 from his hotel room at the Mandalay Bay Resort and Casino in Las Vegas. He used at least one semiautomatic rifle modified to fire like an automatic weapon by attaching a “bump stock,” not shown above. After the shooting Authorities retrieved 47 guns from the hotel room and Mr. Paddock’s homes in Mesquite and Verdi, Nev. The bureau found Mr. Paddock purchased most of the guns in Nevada, Utah, California and Texas. Twelve of the rifles recovered from the hotel were each outfitted with a bump stock. June 12, 2016 Forty­nine people were killed and 53 wounded when Omar Mateen opened fire at a crowded gay nightclub in Orlando, Fla. He used two guns: a Sig Sauer AR­15­style assault rifle and a Glock handgun. RELATED ARTICLE 2013 The F.B.I. learned that Mr. Mateen had made comments to co­workers alleging possible terrorist ties, an official said. The next year, the F.B.I.
investigated him again for possible ties to an American who went to Syria to fight for an extremist group, but authorities concluded that he “did not constitute a substantive threat at that time.” A few days before the shooting Mr. Mateen legally bought two guns, a federal official said. “He is not a prohibited person, so he can legally walk into a gun dealership and acquire and purchase firearms,” said Trevor Velinor, an agent at the Bureau of Alcohol, Tobacco, Firearms and Explosives. June 12, 2016 Forty­nine people were killed and 53 more were wounded in the crowded nightclub. Mr. Mateen was killed inside the club by the police. Dec. 2, 2015 Syed Rizwan Farook and Tashfeen Malik, husband and wife, killed 14 people at a holiday office party in San Bernardino, Calif. Four guns were recovered: a Smith & Wesson M&P assault rifle, a DPMS Panther Arms assault rifle, a Smith & Wesson handgun and a Llama handgun. RELATED ARTICLE Before the shooting “We believe that both subjects were radicalized and for quite some time,” said David Bowdich, the F.B.I. assistant director. The attackers are not known to have had previous contact with law
enforcement. Between 2007 and 2012 Mr. Farook bought the two handguns legally in California, federal officials said. The guns were purchased at Annie’s Get Your Gun, a gun store in Corona, Calif., The Los Angeles Times reported. Between 2007 and 2012 Enrique Marquez, a former neighbor of Mr. Farook’s family, bought the two assault rifles in California, officials said. Mr. Marquez was later charged with lying about the rifle purchases and supplying the assault weapons to the attackers. Dec. 2, 2015 The couple killed 14 people at a holiday party. Moments before the attack began, Ms. Malik posted an oath of allegiance to the Islamic State on Facebook. Oct. 1, 2015 Christopher Harper­Mercer, 26, killed nine people at Umpqua Community College in Oregon, where he was a student. He was armed with six guns, including a Glock pistol, a Smith & Wesson pistol, a Taurus pistol and a Del­Ton assault rifle, according to The Associated Press. RELATED ARTICLE 2008 Mr. Harper­Mercer was in the Army for one month, but was discharged before completing basic training. 2009 He graduated from the Switzer Learning Center in Torrance, Calif., which teaches
students with learning disabilities and emotional issues. Before shooting In all, Mr. Harper­Mercer owned 14 firearms, all of which were bought legally through a federally licensed firearms dealer, a federal official said. Some were bought by Mr. Harper­Mercer, and some by members of his family. Oct. 1, 2015 He killed nine people in Roseburg, Ore. Aug. 26, 2015 Vester Lee Flanagan II, 41, shot and killed a Roanoke, Va., television reporter and a cameraman with a Glock handgun while they were reporting a story live. RELATED ARTICLE 2000 Mr. Flanagan filed a lawsuit against a TV station in Tallahassee, Fla., that had fired him, alleging he was the victim of racial slurs and bullying. 2012 He was hired at WDBJ in Roanoke, but within months his bosses had documented problems with his harsh language and aggressive behavior. He was later fired and filed another harassment lawsuit. June 2015 Federal officials said Mr. Flanagan bought the gun legally from a licensed dealer. He had not been convicted of a crime or determined to be mentally ill. Aug. 26, 2015 Mr. Flanagan killed the reporter and cameraman, injured a woman who was being interviewed and
died after shooting himself. July 23, 2015 Using a .40­caliber semiautomatic pistol bought from a pawnshop, John R. Houser killed two people and wounded nine others at a movie theater in Lafayette, La. RELATED ARTICLE 2006 Mr. Houser was denied a state­issued concealed weapons permit because he was accused of domestic violence and soliciting arson. 2008 A judge ordered him sent to a psychiatric hospital. 2014 Mr. Houser bought the weapon in Alabama. Officials said it had been purchased legally, though he had been denied a concealed weapons permit earlier, and despite concerns among family members that he was violent and mentally ill. July 23, 2015 He killed two people in Lafayette. June 17, 2015 Dylann Roof, 21, killed nine people with a .45­caliber Glock pistol at a historic black church in Charleston, S.C. RELATED ARTICLE February 2015 Mr. Roof was charged with a misdemeanor for possessing Suboxone, a prescription drug frequently sold in illegal street transactions. April 2015 He purchased a gun from a store in West Columbia, S.C. Mr. Roof should have been barred from buying a gun because he had admitted to possessing
drugs, but the F.B.I. examiner conducting the required background check failed to obtain the police report from the February incident. June 17, 2015 Mr. Roof joined a Bible study group at Emanuel A.M.E. Church and opened fire with the gun he bought in April. Oct. 24, 2014 Jaylen Ray Fryberg, 15, used his father’s Beretta pistol to shoot and kill four students in his high school’s cafeteria in Marysville, Wash. RELATED ARTICLE 2002 Raymond Lee Fryberg Jr., Jaylen’s father, was the subject of a permanent domestic violence protection order, which should have been entered into the federal criminal background database. 2013 Mr. Fryberg applied to buy the Beretta from a gun shop on the Indian reservation where he lived with Jaylen. A background check failed to come up with the protection order because it was never entered into the system. Oct. 24, 2014 Jaylen Fryberg texted five of his fellow students to come to the cafeteria, where he opened fire. April 2, 2014 Specialist Ivan Antonio Lopez opened fire at Fort Hood with a Smith & Wesson semiautomatic pistol, killing three people and wounding 16 others. RELATED ARTICLE 2011 Specialist Lopez came back
from a four­month deployment to Iraq and told his superiors that he had suffered a traumatic head injury there. Military officials said he had never seen combat and was being evaluated for possible post­traumatic stress disorder. March 2014 Specialist Lopez had seen a military psychiatrist as recently as the month before the shooting. He was being treated for depression and anxiety, and had been prescribed Ambien to help him sleep. March 1, 2014 Mr. Lopez legally bought his gun at the same shop where Nidal Malik Hasan, an Army major, had bought at least one of the weapons used in a 2009 mass shooting on the base that killed 13 people. April 2, 2014 Around 4 p.m., Mr. Lopez started firing on soldiers. Sept. 16, 2013 Aaron Alexis, 34, used a Remington shotgun to kill 12 people at the Washington Navy Yard. RELATED ARTICLE 2011 Mr. Alexis was given an honorable discharge after showing what Navy officials called a “pattern of misbehavior” during four years as a reservist. A month before the shooting He twice sought treatment from the Department of Veterans Affairs for psychiatric issues. He told police in Rhode Island that people were pursuing
him and sending vibrations through the walls of his hotel. Sept. 2013 He was stopped from buying an assault rifle at a Virginia gun store, but was allowed to buy a shotgun. He passed local and state background checks. Sept. 16, 2013 He killed 12 people at the Navy Yard. Dec. 14, 2012 Adam Lanza, 20, shot and killed his mother in their home, then killed 26 people, mostly children, at Sandy Hook Elementary School in Newtown, Conn., using a Bushmaster XM­15 rifle and a .22­caliber Savage Mark II rifle. RELATED ARTICLE 2009 Mr. Lanza graduated from high school. Some classmates said he had been bullied in high school. He struggled with a developmental disorder and was described as acutely shy, not known to have close friends. After high school He was “completely untreated in the years before the shooting” for psychiatric and physical ailments like anxiety and obsessive­compulsive disorder, a state report found. Before the shooting His mother, Nancy Lanza, a gun enthusiast, legally obtained and registered a large collection of weapons and would often take her sons to shooting ranges. Dec. 14, 2012 Mr. Lanza used his mother’s guns to kill her
and 26 others. Aug. 5, 2012 Wade M. Page, 40, killed six people with a Springfield Armory semiautomatic handgun when he opened fire in the lobby of a Sikh temple in Oak Creek, Wis., as congregants arrived for Sunday services. RELATED ARTICLE 1994 While in the Army at Fort Bliss in El Paso, Tex., Mr. Page was charged with criminal mischief after kicking holes in the wall of a bar. He pleaded guilty. Early 2000s He came to the attention of authorities because of his affiliation with a white­power band called End Apathy, which performed songs with violent lyrics. July 2012 He bought the firearm legally at a gun shop outside Milwaukee. He passed a background check and paid $650 in cash. Aug. 5, 2012 He killed six people and wounded three others at the temple. July 20, 2012 James E. Holmes, 24, killed 12 people and wounded 70 at a theater in Aurora, Colo., using a Smith & Wesson semiautomatic rifle, a Remington shotgun and a Glock .40­caliber semiautomatic pistol. RELATED ARTICLE March 2012 Over four months, Mr. Holmes legally bought more than 3,000 rounds of ammunition for handguns, 3,000 rounds for a semiautomatic rifle and 350
shells for a 12­gauge shotgun, all over the Internet. May 2012 He was seeing a psychiatrist and in the process of withdrawing from a graduate program at the University of Colorado Denver’s Anschutz Medical Campus. May 2012 In the 60 days before the shooting, he bought four guns legally at local gun shops. Seeing a psychiatrist, even for a serious mental illness, would not disqualify him from buying a gun. July 20, 2012 He opened fire in the theater, killing 12 people. April 2, 2012 One L. Goh, 43, opened fire with a semiautomatic handgun at a small religious college in Oakland, Calif., where he had been a student. He killed seven people. RELATED ARTICLE Before shooting “He was a loner and what some might call a loser, but he didn't exhibit any behaviors that would have alerted anyone,” a district attorney told reporters after the shooting, according to CNN. Early 2012 Mr. Goh legally bought the handgun at a gun store in Castro Valley, Calif., passing a federal background check. April 2, 2012 He killed seven people at Oikos University in Oakland. Jan. 2013 A judge ruled he was not fit for trial after two psychiatric evaluations concluded that he had
paranoid schizophrenia. Jan. 8, 2011 Jared L. Loughner, 22, killed six people with a Glock handgun in a supermarket parking lot in Tucson, Ariz., at an event for Gabrielle Giffords, who was a Democratic representative from Arizona. RELATED ARTICLE 2007 Mr. Loughner was arrested for possession of drug paraphernalia, but the charges were dropped. The next year, he failed a drug test when trying to enlist in the Army. Neither incident barred him from buying a gun. Oct. 2010 He was forced to withdraw from community college because of campus officials’ fears about the safety of the staff and students, his parents later said. The incident would not have shown up on a background check. Nov. 30, 2010 He passed a background check and bought the handgun at a store in Tucson, Ariz. Jan. 8, 2011 He killed six people in Tucson. Nov. 5, 2009 Maj. Nidal Malik Hasan, 39, an Army psychiatrist facing deployment to Afghanistan, opened fire inside a medical processing building at Fort Hood in central Texas, killing 13 people and wounding 43 others. He was armed with an FN Herstal pistol. RELATED ARTICLE Dec. 2008­June 2009 Intelligence agencies
intercepted 10 to 20 messages between Mr. Hasan and Anwar al­Awlaki, a radical cleric in Yemen known for his incendiary anti­American teachings. June 2009 Federal authorities dropped an inquiry about the messages after deciding that they did not suggest any threat of violence. July 31, 2009 Mr. Hasan bought the pistol legally at a popular weapons store in Killeen, Tex., paying more than $1,100. Nov. 5, 2009 He shot and killed 13 people at Ford Hood. April 3, 2009 Jiverly Wong, 41, fired at least 98 shots from two handguns, a Beretta 92 FS 9­millimeter pistol and a Beretta PX4 Storm pistol, inside a civic association in Binghamton, N.Y., where he had taken an English class. He killed 13 former classmates and association employees. RELATED ARTICLE Before the shooting Mr. Wong had been arrested, cited or had some minor contact with the police at least five times since 1990, but details about the cases remain unclear. At the time of the shootings, he was not a subject in any investigation, nor did he have a documented mental health issue. March 2008 Mr. Wong bought the first gun, the Beretta 92, at a store in Johnson City, N.Y. He passed a
background check. March 2009 Mr. Wong bought the second gun from the same store, but his background check was not approved immediately. He received the gun under a federal rule that allows a gun to be sold if the background check system does not return a decision in three business days. April 3, 2009 He killed 13 people in Binghamton. Note: Information on the precise version or year of manufacture of each gun was not always available, so a version of the model or a similar one is shown. The handguns used by Christopher Harper­Mercer are omitted because the models have not been released. The guns shown for Adam Lanza do not include the gun he used to shoot himself. Source: Government and law enforcement officials Additional work by Wilson Andrews, Sarah Almukhtar, Alicia DeSantis, Guilbert Gates, Josh Katz, Julie Shaver and Karen Yourish. Email Share Tweet More Orlando Shooting Why the Orlando Shooting Was So Deadly June 16, 2016 What Happened Inside the Orlando Nightclub April 29, 2017 How Many People Have Been Killed in ISIS Attacks Around the World July 18, 2016 ISIS in America June 13, 2016 Orlando Gunman
Was ‘Cool and Calm’ After Massacre... Jan. 20, 2018 The Orlando police chief offered new details on the worst shooting in United States history, and other officials said that all but one of... Advertisement Close this overlay Go to previous Go to next Loading... Site Information Navigation © 2018 The New York Times Company Home Search Accessibility concerns? Email us at accessibility@nytimes.com. We would love to hear from you. Contact Us Work With Us Advertise Your Ad Choices Privacy Terms of Service Terms of Sale Site Information Navigation Site Map Help Site Feedback Subscriptions Go to the previous story ‘You Are the Product’: Targeted by Cambridge Analytica on Facebook Go to the next story Africa Americas Asia Pacific Australia Europe Middle East Education The Upshot Elections The Upshot Events DealBook Economy Energy Markets Media Entrepreneurship Your Money Automobiles Op­Ed Columnists Editorials Op­Ed Contributors Letters Sunday Review Personal Tech Climate Space & Cosmos Well Money & Policy Health Guide Baseball Basketball: College Basketball: N.B.A. Football: College Football: N.F.L. Golf Hockey
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